Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 1 of 103




                  EXHIBIT B-173
Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 2 of 103



                IN THE SUPERIOR COURT OF FULTON COUNTY

                           STATE OF GEORGIA



 STATE OF.GEORGIA                   CASE NO.:   2022-EX-000024



       vs.


 BRIAN B. KEMP
                                                0 ORIGINAL
                    SPECIAL PURPOSE GRAND JURY
                                                           AUG
                                                             10 203
                   TRANSCRIPT OF MOTION HEARING            CHE ALEXAND R
                                                          Clcrk of SuperiorC urt
                                                                                   tLL-
             BEFORE THE HONORABLE ROBERT C.I.                  n Count~.Ge,>gia

                ON AUGUST 25,   2022,   ATLANTA, GEORGIA



 APPEARANCES:


       FOR THE STATE:                     NATHAN WADE, ESQ.
                                          FM MCDONALD, ESQ.
                                          ADAM NEY, ESQ.
                                          WILL WOOTEN, ESQ.
                                          ATTORNEYS AT LAW

       FOR THE DEFENDANT:                 S. DEREK BAUER, ESQ.
                                          BRIAN F. MCEVOY
                                          ATTORNEYS AT LAW




                   KAREN RIVERS, RMR, RPR, CCR-2575
                       OFFICIAL COURT REPORTER
                  FULTON COUNTY JUSTICE CENTER TOWER
                       185 CENTRAL AVENUE, S.W.
                       ATLANTA, GEORGIA 30303
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 3 of 103
                                                                                         I      '
                                                                                         \J


                                  THE COURT:                   This         is     2022-EX-000024,                              and
                                                                                                                                l


           we are          here         having          a hearing                this          morning

           concerning               a motion             that         has        been          filed             on behalf

           of      Governor             Kemp by his                 lawyers                  seeking             to     quash          a

           subpoena              that       has     been         issued            for         his         appearance

           before          the      special             purpose             grand             jury         that         is

           investigating                      alleged          electorial                     interference                      in

           Georgia's              2020         general           election.                     Why don't                   we

           start       --    because              I think             there         may have                     been        some

1          last      minute             additions              to     the        ranks              of     lawyers              here

1          --      by having             counsel           for        the        governor                  introduce

1          themselves,                  get      themselves                 on the             record                and     we'll

1          figure          out      who from             the        State,          meaning                    the      district

1          attorneys,               will        be confusing                     with          the         State           here,

1          who from              district           attorney's                   office              will         be talking

1          as      well?

1                                 MR. MCEVOY:                    Good morning,                            your         Honor.

1          Brian       McEvoy            on behalf               of       the      Office                 of     the

1          Governor.

2                                 MR. BAUER:                   Good morning,                         your            Honor.

2          Eric      Bauer,             also      for      the        office             of         the        governor.

2                                 MR. MCEVOY: We are                             also          joined             by David

2          Dove,       Executive                Counsel             for         office              of     the         Governor.

2                                 THE COURT:                Welcome                all         three             of     you.

2                                 Mr.       McEvoy,            you        are      free             to     divide            up the


                                                                                                                                           2
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 4 of 103



           speaking              anyway            you want.               All        I ask          is        that         only

           one     person              at    a time          make       a point.                    But        if      Mr.

           Bauer's          is         going          to    be handling                     --I'm         making               it        up

           --executive                   privilege             and      Mr.          Dove's          going             to      be

           talking          about              electoral             cycles,               fine.          But          let's

           try     to      keep          the       one person              for        topic,             if         that

           works.

                                   MR. MCEVOY: Yes,                        your            Honor.              Just         for

           your      Honor's                understanding,                   Mr.           Bauer         will          be

1          handling              the        immunity,               sovereign               immunity.                      Mr.

1          Dove is              just        here       as    a client                representative.                                He

1          can     answer              any      questions             that           your          Honor         may have,

1          and     I will              likely          be handling                   the         other         components.

1                                  THE COURT:                  Sounds            good.              Good morning.

1                                  MR. WADE:                 Good morning.                          Nathan             Wade

1          here      for         the        State,          along       with          Donald             Wakeford                   here

1          for     the          State.             And with           us will               be Will              Wooten              and

1          Adam Ney,               District                Attorney            for         the      State             as    well.

1          The arguments                       will        be handled                by Mr.          Wakeford                  and

2          myself          if      that's             okay     with        the        Court.

2                                  THE COURT:                  It     is       okay.               Same rules,                      just

2          try     to      keep          one person             per        topic            or      at        least         have           a

2          clear         dividing               line        so that          Ms.           Rivers             can      more

2          readily              follow          along.

2                                  MR. WADE:                 Yes,       sir.


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    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 5 of 103



                                   THE COURT:                      So Mr.            McEvoy,                   I'm      going         to

           hand       it        over      to        you       in       a minute.                     Just          so    you         know

           I've       read         the        motion             and        the      response.                         I can't            say

           I've       read         all        the      e-mails.                    I don't                 particularly

           hear       a lot            a~out          the        e-mails,               but          it        may be

           germane,               and     so        I don't             mean         don't                talk         about         them,

           but     we don't               need         to        get        down into,                     well,         that's

           when       he        called         me a name                    in     an e-mail                     from       August

           14th.            I get         the         drift            with        what         the            e-mails           were

1          about,           those         that         were            included               and          those         that

1          weren't,               etc.          But         in      terms          of     the             thrust         of      the

1          arguments               made        by the               office           of       the          governor              in

1          order           of     appearance                  sovereign                 immunity,                      executive

1          privilege,                  attorney/client                            privilege,                     and     then

1          interference                   with         the          electoral                 cycle.                   You can

1          handle           them         in     arty order                  you      want.                 The way I

1          process              them      was the                way they               were              in     the     brief,

1          and      the         basic         argument                 is     that        the             governor             hasn't

1          waived           his        immunity               from,           I guess,                    what       we'll           be

2          discussing                  how a subpoena                         in     connection                      with        a

2          criminal               investigation                        is     a lawsuit.                         But     that's

2          why you              handed          that          one       to        Mr;     Bauer.                   Then        we can

2          talk       about            executive                 privilege,                   it's             existence               and

2          application                   in     the         state           of     Georgia.                      And then

2          we'll           manage         attorney/client                            whatever                    way you             want.


                                                                                                                                                4
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 6 of 103



           The same             with         the        concerns             about         scheduling,                  okay.

                                  MR. MCEVOY:                       Thank      you,         your         Honor.               I'

           had      some         introductory                     remarks          that       I don't              think

           really          are        necessary.                    I think          Mr.     Bauer            could

           probably              go into             the         sovereign           immunity              argument.

                                  THE COURT:                      Great.           And I guess                  what          I'll

           do,      while         Mr.        Bauer          strides           to     the     podium,               is    if          we

           get      deep         enough            in      the      sovereign              immunity              I may

           turn      to     the        district                  attorney's              office          to      get     their

l          response              to    that          topic          rather         than      have          the

1          governor's                 office            cover        all      four,         and      then          I'm

1          trying          to     remember               what        was      said         about         sovereign

1          immunity.                  So,      Mr.       Wakeford,             Mr.        Wade,          just       be

1          ready.           It        may be you're                    bouncing             up four              times

1          rather          than        once.

1                                 MR. MCEVOY:                       Your      Honor,          just         one

1          housekeeping                     item.           We do have               a --         sort        of       a Power

1          Point      and         some exhibits                      that      we may or may not                           go

1          through.               I've         got         a complete              set      for      the         State             and

2          a complete                 set      for         your      Honor.

2                                 THE COURT:                      To that          end,       the        best       way to

2          share      things                would        be to         join        the      Zoom session                   and

2          I think          you've             got       that        link.           And if          you did,              then

2          you      can     share            your          screen.            I currently                 have          you          in

2          the      Zoom call,                 but       maybe         your        law      firm         has       a way


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    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 7 of 103



           that's       penetrating                     our        Zoom system                  from        a satellite

           somewhere              and      it's         going           to     come that                 way.

                               MR. MCEVOY: We'll                               figure           that        out.

                                  Can I approach                        just        to     give          your      Honor

           hard      copies?

                                  THE COURT:                   But       please            like          don't      plug

           things       into            things          because              that        may disconnect

           something.                   So the          best        way is            to      join         the     Zoom and

           then      share         screen.

1                                 MR. BAUER:                   Good morning,                        your         Honor.

1          It's      a pleasure                   to    be here.                As you              know,         the

1          governor's              motion              to     quash          the      subpoena              is     on three

1          grounds:               Lack       of        jurisdiction,                     that's            sovereign

1          immunity,              improper              purpose,               and       failure            to

1          accommodate                  important              privileges.                      As Mr.            McEvoy

1          just      reported              to      you,           I'm    going           to     address            the

1          jurisdiction                  issue,             and     he is           going           to     speak         to    the

1          other      issues.

1                              As the              Court           knows           from       the        papers,          we

2          believe          the         century             old     doctrine               of       sovereign

2          immunity          precludes                  the        county           district               attorney

2          from      using         the       superior               court's              impulsory                process

2          to     subject          a sitting                  governor              to     an inquiry

2          regarding              the     performance                    of     his        official               duty

2          absent       some expressed                         waiver           does          not        exist.           I


                                                                                                                                     6
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 8 of 103



           know that             the         Court          is    deeply              familiar            with         the

           doctrine             of     sovereign                 immunity.                I know you                   just

           issued         a detailed                  order           in    which         you had             to       emerse

           yourself             in     it.

                                 THE COURT: Had a recent                                      crash          course.

                                 MR. BAUER: That's                              right.             In      another

           matter.

                                 THE COURT: Thank                              you,      solicitor                general.

                                 MR. BAUER:                      I do not              intend           to    bark           at

1          the      Court        about             things         the          Court      already             knows            well

1          because             I do think              this           issue           may be destined                        for

1          additional                review           at     some point                  one       way or           the

1          other.              I hope         you will                indulge            a little             bit         of

1          exposition                on that           issue.                  I do feel             like         to      start

1          off,      and        I think             Mr.      McEvoy may have                        been          intending

1          to     do this            in      his      opening              remarks,            but         you

1          indicated             in       response               to      the      motion           that       was         filed

1          it's      a bafflement                     as     to       why we're               in     the      position

1          we're         in.         Why you were                     getting            a motion             to       quash

2          on sovereign                   immunity               at      this         point        in      this

2          investigation,                     and      --

2                                THE COURT:                      And by point                   I meant             on the

2          eve      of    the        appearance                  date.         that      had       been       carefully

2          negotiated                with          input         from          the     governor's                 office           at

2          governor's                counsel           request.


                                                                                                                                        7
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 9 of 103



                                  MR. BAUER: Correct.

                                  THE COURT:                 Just          so      everyone              understands



                                  MR. BAUER:                 Absolutely.                        Stuff         could

           change          and     that         was       an issuance                     of    a subpoena,                 and

           Mr.      McEvoy         will          speak       to       the       relevant                details            of

           those          communications                   and        what          the        governor's

           agreement              or     agreement              he thought                     he had         with         the

           district             attorney's                office             was     on that.                 But      we're

1          equally           frustrated.                   When we got                     that         subpoena            we

1          were       equally            baffled           because              there           are      some         serious

1          limits          to     the         authority              of      a special                purpose           grand

1          jury.           And I think                 more          relevant              here         the     authority

1          of      a local         county           prosecutor                  when           you're          talking

1          about          using         the      court's           process                to    compel          the

1          sitting           governor             to      do anything                     in    relation              to    his

1          official             duties.             And so            once          that        subpoena             was

1          issued,           and        we believe              it        was ultra               vires,          the

1          motion          became             necessary.                  And I just                  want      the        Court

2          to      know that             its      frustration                   is        shared.

2                                 THE COURT:                 So the             subpoena                flowed          from

2          the       scheduling                discussions                   we had            that      yielded            the

2          date       that        was         suppose        to       work          for        both      the      governor

2          and      his      lawyer.              It      was        after          that        discussion                 that

2          the       subpoena            --      I was under                  the         impression              that


                                                                                                                                   8
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 10 of 103



           there         had       been            a subpoena              but      people              just            agreed

           we're           going         to        change         the      date       because                there            was

           conflict            X, conflict                   Y, conflict                     Z.

                                   MR. BAUER:                     That's           not      what            happened.

                                   THE COURT:                     So there's                only            been            one

           evidence            subpoena.

                                   MR. BAUER: There                          was         a document                     subpoena.

                                   MR. MCEVOY: Your                          understanding                         is

           correct,            your           Honor,         and         I can           address             those

1          logistical               issues                which         were       there           in       part

1          exac~rbated                by my own personal                                 travel.                 I'm         happy

1          to     talk       about            it     now or             later.

1                                  THE COURT:                     No,      no,      no.            I        --     Mr.

1          Bauer's           helping                me understand                   why the                 motion            came

1          when       it     did,         and        there         was       something                  that            changed,

1          and     that        was a subpoena.                             So was            it        --    I may be

1          asking           questions.                     I'm     not       trying               to    do this               to     you

1          that       are      Mr.        McEvoy's                questions,                but         was        it        the

1          plan       that         the        governor             was going                to         appear               on that

2          date       which         I think                was     last          week       without                a

2          subpoena?                In        other         words,           he wasn't                  asking               for     one

2          and     then        --        and        the     District              Attorney's                     Office            can

2          explain           its         own actions--                     belt       and          suspenders--                      hey

2          we got           this      understanding,                         but         let's          send            a

2          subpoena            anyway               just     to     memorialize.                            You don't


                                                                                                                                           9
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 11 of 103



           need         to        answer           for         the         DA's          Office,          but          I guess

           more       bafflement.                         If         everyone               had      agreed                 that         this

           is     the        date         that           the         governor               is      going           to        come in

           and      testify               before               the         special               purpose            grand            jury

           as     did        his         secretary                   of      state          as      --    but          the

           secretary                 of      state,             other              people.               If      the          only

           thing           that          changed               was well,                  let's          make          it

           official.                    Here's            an invitation.
                                                                                     -               It's           a subpoena,

           but      it's           an invitation.                               What        --      I guess,                  I'm

1          confused                if     there           was             an understanding                          that            he was

1          corning           anyway,               the         subpoena                   --      he could                  say      I

1          don't           need         that        subpoena.                        But         now that              it's          a

1          subpoena                he doesn't                   want            to       come.           I guess                 I need

1          to     understand                   that.

1                                    MR. BAUER:                           Mr.      McEvoy's              going              to      explain

1          that         to        you     in       crystal                 clear          detail,             but           there

1          wasn't            firm         understanding.                                 There       had         not          been        an

1          agreement                 on that              date             or      the      terms           of      appearance.

1          The subpoena                      was new.                      It      was not.by                 agreement.                        It

2          was not                invited,               and         it     was not               welcomed,                   nor        do we

2          think           it's         necessary.                         But more               important                   for        legal

2          issue           in      front           of     you             today,          it's       not         legally

2          proper.                 So,       the         governor's                   position                is      very

2          straight                forward.                Sovereign                      immunity               is

2          jurisdictional.                              No court                   can      exercise                jurisdiction


                                                                                                                                                     10
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 12 of 103



           over          state             or         it's       chief            executive               without                  consent

           in      the         form         of          constitutional                         waiver           or         statutory

           waiver              that         meets               the        criteria             that          the          Court          is

           familiar                 with              for       such        a statutory                    waiver.

                                          THE COURT:                       So,     true         with          lawsuits.

           Maybe          you're                  getting              there.                 I know you're                        getting

           there.                Let's                get       there.             Because               to     me the                 real

           issue          here             is         how does              sovereign                immunity                    apply          if

           at      all         in         the         criminal              context.                   I want              to      be very

1          clear.                No suggestion                             that         the     governor                   or      his

1          office              is         connected                   to    criminal                activity.                      I think

1          if      one         were             to      summarize                 the         theory          of      the

1          investigation                              the       governor              was       almost              the          target          of

1          the      targets.                          And so it                 would          be    lower            case

1          v-victim                  of     pressure                   to       do things                that         one          theory

1          is      working                 proper               post        election.                    But        it's           in     the

1          criminal                  context,                   and        so     I did          look         long          and hard

1          at      all         the         cases              that         were         cited        and        they             all

1          involve               someone                     trying         to     sue         governor,                   the         state,

2          whatever                  it         is,          lawsuits,             civil            action.                 And apart

2          from          the         email              exchanges                 there's            not        a whole                  lot

2          civil          about             what's               going            on with            the        grand              jury

2          right          now.

2                                     MR. BAUER:                           I'm     going            to     address                 that

2          particular                      point,               the        specific             language                   suit,


                                                                                                                                                      11
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 13 of 103



           lawsuit           action            where        that      shows            up.

                                   THE COURT: Okay.

                                   MR. BAUER: Why that's                               not         the         limitation.

           I think           it        would      be     crystal           clear             when         I'm          done.

           But      I think             given      the        DA's        opposition                 what              they

           filed          late         Tuesday           --    I think                I need             to     take           a

           step       further            back.           And while,                   as     you         know,              our

           motion          was based              on jurisdictional                           issues              arising

           from       sovereign                immunity,            the         opposition                     that           the

1          District               Attorney's             Office           filed            I think              has           raised

1          another           issue         that        we have            to      educate                the      Court

1          about          today,         which         is     the     fundamental                        statutory

1          limits          of      a special             purpose           grand             jury         and          it's

1          authority               and by extension                       the         DA.          So,         their

1          opposition                  appears         to     be based                on two             things.                    One,

1          a fundamental                   misunderstanding                           of     the         grand              jury

1          and      the      county            DA's      authority.                    And to             a narrow

1          reading           .of the           word      "suit"           the         issue         you         just

1          raised,           that's            neither         legally,                historically,

2          contextually,                   logically               historic.                  And I have                       a few

2          of      those          in    that      order        to     educate                the         court.

2                                  THE COURT: Sure.

2                                  MR. BAUER:                 I read            the        special

2          prosecutor's                  brief         Tuesday          night,               and         read          it      again

2          last       night.             And what             jumps        out         at     me is             they           think


                                                                                                                                           12
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 14 of 103



            their          authority                is       unlimited              if     what          they're             doing

            is      (a)         a criminal                investigation,                        and        (b)    their

            investigation.                          And there                are     no constitutional

            separation                  of       powers          or    sovereign                 immunity               or

            statutory               limits              on that          jurisdiction                       and     authority

            if      what         they're            doing         is     a criminal                   investigation.

                                    THE COURT:                    Well,            I think            that        overstates

            it      a bit.              We've           been      navigating.                      There          are        all

            sorts          of     limitations.                        There's             attorney/client

1           privilege.                    There's              legislative                 privilege,                   etc.        And

1           the      district                attorney's                office             has      pushed           against

1           that,          but      ultimately                   acknowledged                    that        there           are

1           certain              things            that        even      in        the     5th        amendment

1           privilege               that           stand         in    the         way of          unfettered

1           inquiry              with        the        witnesses             who do appear                       in      front

1           of      the         grand        jury.

1                                   MR. BAUER:                    You only                get      that          far.           You

1           only          get     to      analyze              whether             they      have           to    respect

1           the      privileges                    if     they        had                 or more            importantly

2       J   the      special              purpose              grand         jury         has      the       authority                  to

2           do whatever                   it's          doing         anyway.

2                                   THE COURT:                    Agreed.

2                                   MR. BAUER:                    And we've                got        to     go back               now

2           and      look         at      what          that      authority                is      because              their

2           position              is      that          as     long     as ~hat                 they're           doing            in    a


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    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 15 of 103

                                                                                              0
           criminal             investigation                        there            are           no limits                on that

           and      they        could           haul           in    the         governor                  and        they        don't

           have        to     pay       attention                   to     these             other             jurisdictional

           constitutional                        issues.                 It's         wrong               on every              level.

           Starting             with,            this          is    actually                 not          a criminal

           investigation.                           So,        slide            one     I put              up here              for

           you,        this        is      a civil               investigation.                                And in           civil

           investigations                        a special                 purpose                  grand         jury          and         the

           district             attorney's                     that's            aiding              it        have        no

1          authority               under            established                    Georgia                 law        to

1          investigate                   state          offices.                   They             simply            don't.                I

1          said        civil,            and        I saw the                   Court's              reaction                to       it,

1          but      that        is       what        a special                   purpose                  grand          jury         does.

1          And I think                   the        Court           has         actually                  recognized                  this,

1          albeit           indirectly,                   it's           one       of        your          other           orders               in

           this        matter.                 They       keep           saying              it's          a criminal

           investigation                       and      it's           their          investigation                          and        it's

           neither.                The investigation                               --        and          understanding

           why those               are      both          wrong            is      crucial                 to

           understanding                       what       the          special               purpose              grand           jury

           is     authorized                   to    do and              what         it's           not.             And we got

           to     look        at     that           before           we even                 get          to    can        they         use

           it     to     haul        the         sitting               governor                into            testify            about

           its      duties.                So,       we're             lucky          the           Georgia              appellate

2          courts           have         actually                answered               this              question              for         us.


                                                                                                                                                     14
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 16 of 103



           So,      number                  (1),        it's         a grand                 jury      investigation.

           It's      not          a DA investigation.                                          While        the       DA aids                it,

           it's      the          grand             jury           that           investigates.                       I know the

           Court       is         very             familiar               with           that        construct.                  And

           because           it         is         a special                 purpose                grand         jury

           investigation~                           it's           by definition                       is     civil            and         it's

           not      criminal                   no matter                   how they                 want      to      dress           it

           up.       This              is      because                the         special            purpose             grand             jury

           is      a civil              investigative                             body         only.          It      has       no

1          power       to         indict.                      And this                 is     what        I think             your

1          Honor       has             noted            in        some of               your        orders         in     this

1          case.            It         doesn't                 have         any power                to      indict.              It         has

1          limited           power                 to        interview                  witnesses,                and     it     can

1          only      issue              a report.                       There            is     simply            nothing

1          criminal               about             its           process               of     investigation.                        And

1          whatever               it         does            in    that        process,                in     that        ultimate

1          report,           they             belong               to       the         grand        jury.            They       don't

1          belong           to         the         district                 attorney.                So,      this        slide

1          tells       you what                     the           Georgia               Court        of Appeals                 has

2          said      about              the         nature              of        the        special          purpose            grand

2          jury,       and             there            is        a number               of     cases         about            them.

2          The      first              one         was the              State            vs.        Bartell           case        from

2          1996,       in        which              the           Court           of Appeals                was       trying               to

2          figure           out         does            it        matter           whether             this        grand         jury

2          came under                   the         special               purpose               statute            or     the


                                                                                                                                                   15
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 17 of 103




           regular               grand        jury       statute.                   And they                    said,          no,           it

           doesn't           matter.                 Because               what         this          particular                      grand

           jury,           the         regular         grand             jury's           doing             was         civil,               not

           criminal               in      this       particular                    case.              Either             way,           we

           don't           have         to    add      to         that      question,                     but      special

           purpose               grand        jury's              only      do civil                  investigations

           because               they        can't       indict.                   That         was reinforced

           Kennerly               vs      State        in         2011.

                                       THE COURT:                  Why does               the         lack         of        power                to

1          indict           --         I agree         with          you      that             the         special             purpose

1          grand           jury         cannot         bring             charges,               and         we've            had        to

1          explain               that        to              through               witnesses,                    to      all          sorts

1          of      folks.               Why does             that          mean         it's          not        a criminal

1          investigation                      or     criminal               investigative                          body           as

1          opposed               to civil?               Wouldn't                  one         look         to          --     I'll

1          call       it         the      charter.                 So,      the         chief              judge         signed                   an

1          order           authorizing                 the         creation               of         the        special

1          purpose               grand        jury       and         its      purpose                 was not                to

1          investigate                    civil        matters;               it        was          to     investigate

2          alleged               criminal            interference                       with.the                 2020          general

2          election.                    So criminal,                     criminal,                   criminal,                 not

2          civil,           civil,            civil.               What            --    why is                 simply            the

2          lack       of         the      ability            to      --     a police                  officer                cannot

2          indict           anyone.                But       if      a police                  officer             is        asking

2          you      questions                 that's          not          civil          investigation,                              it's


                                                                                                                                                       16
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 18 of 103




           a criminal               investigation.

                               MR. BAUER: Sure.                            And it           would          trigger

           different           constitutional                       concerns             obviously.                       And

           you      know,      the         court       of     appeals             cases           that      have

           answered           this,         and       they        are      the      only          cases         in         the

           State       that         have         actually           looked          at      the      nature                of

           the      special           purpose          grand            jury      on this            question.

           They      haven't           expanded,              you         know,       particularly

           helpfully            on that             distinction.                    But      I think                 the

l          reason        is    because              particularly                  when       you're

l          investigating                   state       or     even         local         government                   actors

1          who have           special              immunities              that         ordinary               citizens

1          may not           have,         then       criminal             versus           civil,             the

1          nature       of      the        investigation                   in     the       grand          jury            does

1          become       a structural                   issue         with         respect            to,        you

1          know,       are      you        subject           to     jurisdiction.                        And if             it's

1          civil,       if      you're             talking          about         government                   officials

1          acting       in     the         course        of       their          official            duties                in      a

1          civil       investigation,                    particularly                    when        you're

2          talking           about         the      state,          sovereign               immunity                 is     a

2          bar.        And so,             I think           this         rule      is      recognizing                     that

2          when you           are      investigating                      a criminal               act         and         you

2          have      probable              cause       to     believe             there's            been            a crime

2          committed,            by definition                      that's          outside              the         scope

2          of      an official              state        duty.             And so,           I think                 that's


                                                                                                                                       17
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 19 of 103



           where          the        court's                 are          drawing               that      distinction                         and

           answers              your           question.                        But       we don't                have           clarity

           from       the           appellate                     courts              about           your          specific

           question,                 is        it         indictment                     or     no.          But       in        these

           cases,             and      I'll               urge           the      Court           to     read          them,             they

           say      if        the      grand                jury          can't           indict,              if      it        can't

           make          a presentment,                             and         all       it      can        do is           issue            a

           report,              then           it's           civil,              it's          not      criminal.                      And

           they       view           that                distinction                     as     important.                       But

1          here's             why it's                    particula~ly                         important               in        this

1          case.

1                                    THE COURT: What                                  about           on the           federal

1          level?               Because                   I know this                     isn't          your          space,             but

1          this          executive                       privilege                is      being          imported                    from         a

1          lot      of        federal                    cases.                So,       federal             grand           jury's

1          they          can        investigate                          civil.                They      can         investigate

1          criminal.                      If        it      is      a criminal                    investigation                          at       the

1           federal             level,                but         it's          merely            designed                  --       I guess

1          it's          tricky            because                  that          --      there          are         no special

2          purpose              grand               jury's.                    That       grand          jury          is        a

2          multipurpose                        tool.                It      may be used                      at      that            point

2          only          to     investigate.                              And the               U.S.         Attorney's

2          gathers              enough                   information                     and      says        we choose                   not

2          to     present              an indictment                              to      that         grand           jury.              But

2          what          do you            know about                          what       federal              case          law         says


                                                                                                                                                        18
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 20 of 103



           about          sovereign                immunity                 and        a federal                grand           jury

           if     the      focus            is     criminal                 activity?                    Not,          hey,

           should          we have               remunerated                   people's                  whose           land       we

           took       more,           but        it's          focused             on a RICO allegations?

                                    MR. BAUER:                       I know enough                       to     be

           dangerous.

                                    THE COURT:                       For     your         side           or     the         other

           side.

                                    MR. BAUER:                       For     everybody.                       I don't              want

1          to      tell        you,         you         know,         with         certainty                  that          I'm

1          about          to    tell         you         an issue                 of    law         that         I'm        correct

1          on,      particularly                        with         respect            to     a federal                    criminal

1          investigation                     of         a sitting                 executive                office             of    the

1          president.                  I think                 the        Supreme            Court            has        said       you

1          can't          do that            while             the        president                 is     in         office.

1                                   THE COURT:                       But     this         is        not       an

1          investigation                     of         the     governor.                    It's          not         an

1          investigation                     of         the     governor.                    Again,             the                 as      I

1          understand                 the        theory              of     the        investigation,                         if    the

2          governor             were         to         fall         into         a category,                    it      would         be

2          victim,             in     his        official                 capacity.                  So,        that's             not

2          the      right           framework.                       Because            I understand                        that

2          there          might        be        limits              to     say        you     can't

2          executive                and      executive.                      But        Department                     of     Justice

2          you      cannot            use        a grand              jury         against               a sitting


                                                                                                                                                19
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 21 of 103



           executive              president               to         investigate                    that          individual.

           But     that's           not        this       situation.

                                  MR. BAUER:                       It's         not.           And I think                     the

           federal           cases         that         are          applying                 sovereign              immunity

           through           to     subpoenas                 give          you         that        road          map.          They

           are     telling           you         that         unless              the         State         has      said            one

           of     our    people            can        be a witness                       in        your       proceeding,

           without           sovereign                 immunity                 being          waived             you      can't

           do that.               But,         you      know,              the      Federal                Court          --    the

1          Supreme           Court         has         looked                       is        interesting                  to        see

1          they've           cited         the         Paula              Jones         case        against               Clinton.

1          We can        haul        in        a sitting                   judge         if        we want           to,        and

1          the     Supreme           Court             has         said          that         conduct             has      nothing

1          to     do with           the        discharge                   of     his         official             duties.

1          You can           call         him     in         for          a deposition,                     but      I think

1          they       said        that         case       aint             going         to        trial          until         he's

1          out     of    office.                 Because                  you     cannot             interfere                 with

1          the     performance                   of     his          official                 duties.              I don't

1          think        this        is     any         different,                   and        Mr.         McEvoy          could

2          talk      about          the        ethical               guidelines                    that       go to

2          prosecutions                   and     why they                  are         separate              and. apart

2          from      whether              there's             a Supreme                  Court             case      that            says

2          federal           grand         jury's             can't              haul         in    the       president                    to

2          be a witness                   in     the      investigation                            of      some      other

2          person's            crime.             DOJ guidelines                              say       you       don't         do


                                                                                                                                                20
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 22 of 103

                        \__}


           that      during              election                 season.                 Even        if      you         got      a

           really            good        reason            to         talk         to     somebody,                 if     they're

           in     an election                    and        you have                 authority                to     talk          to

           them,         you        still           don't             do it.

                                    THE COURT: We're                               getting             off      topic.

           We'll         get        to      that.

                                    MR. BAUER:                        So,      here's            the         problem.

           You've            got      these              cases.

                                    You can               go to             slide         two,        please.

1                                   You've               got      these             two    cases             that         come out

1          of     the        Georgia             Court            of Appeals.                        It's       a Floyd

1          County            case.           They're                  related             to     a grand                 jury      that

1          Floyd         County             had.            There             are       two different                       grand

1          jury's,             two       different                    cases.              But        what       the         court         of

1          appeals             said         in      these             two      cases            --     and      one         you can

1          look         at     in     particular                      is:      In Re Floyd                    County            Grand

1          Jury         presentments                      for         May term             1996.             245 Ga.            App

1          705.          At the             bottom              of      the         screen.                 Court         of

1          appeals             said,           look,            you're              a county                grand         jury.

2          You do not                 have          any         statutory                 authority                 to

2          investigate                   state            offices              or       state          officers.

2          Particularly                     --      that          the         one       I just              quoted          you was

2          a special                purpose               --      was not               a special               purpose

2          grand         jury,           but        it      was         conducting                   a civil

2          investigation                       just            like         this        special              purpose              grand


                                                                                                                                               21
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 23 of 103



           jury      has         to      do.          And says               you       can't         use         a civil

           investigation,                       local           grand          jury         to     write          a report

           that       is      derogatory                   to    a state               officer.                  That        is

           beyond           the         scope         of    your            authority.                   You can't                do

           it.

                                    THE COURT:                   You keep                calling            it      a local

           grand           jury.          What         is       the         local        part        other          than          to

           make       it      sound            like        we're            out     in      the      sticks.

                                    MR. BAUER:                   Well,            I think            because                there's

1          a distinction                       and     a hierarchy                     of      sovereignty                   of    the

1          state.             And state                and         subordinate                   political                  bodies,

1          and      a county              grand            jury,            which        is       authorized                 by a

1          county           superior              court            judge,           who by all                  means            whose

1          authority                we respect                  greatly

1                                   THE COURT:                   But         that        wasn't           my point.                But

1          there's            no other                grand           jury        in     Georgia.                There's

1          federal.

1                                   MR. BAUER: That's                             right.

1                                   THE COURT:                   And there's                      a state           grand

2          jury.            It      doesn't            have           statewide                authority

2          necessarily,                   but         I just           want         to      make         sure       I wasn't

2          missing            something                that           the      attorney              general

2          believes                --    well,         I actually                   could          convene              a

2          special,                special            grand           jury        that         has       statewide

2                                   MR. BAUER: It's                          a grand              jury      that            is


                                                                                                                                         22
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 24 of 103



           required           to       be convened                        by a county                 superior              court

           judge       who's           elected                  by a local               county             electorate,

           not      statewide,                  in      overseeing                    generally                       unless

           there's           an attorney                        general           involved              --     by a local

           county          prosecutor.                          And so          I think           what         this         case

           is      saying         is      look,             these          two        cases.            You can't              --

           the      State         has          not         suborned             its      sovereignty                  to     these

           local       bodies             in      this             way.         If     you're           going         to

           investigate                  the          State          in     this        state          that       authority

1          rests       with        the          attorney                  general,             the      governor,

1          ironically,                  and          the        general           assembly.                  And each              of

1          them       have        been          given              that        authority              by statute               or

1          constitution                   or      both.                  So,    you can              look      at     them.

1          O.C.G.A.           45-15-17                     is      the     statutory                 authority              that
                                                                                                                               \

1          says       attorney                 general              you        can     investigate                  state

1          offices.               And then                  19 is          general             assembly,              you      can

1          do it,          too.          What              you won't              find         and     what         these

1          cases       say        you          can't            do is          have      a county              grand         jury

1          doing       a civil                 investigation                      of     state          officers             or

2          state       offices.                      So,        I point           this         out      just        because,

2          you      know,         reading                  their          position,              which         is     as     long

2          as     we think              it's           criminal                we can          do what           we want

2          and      we're         not          bound            by any          limitations.                     Then        we

2          have       to     go back              and           look       at     this         and      say,        well,

2          wait       a minute,                 is         this          a criminal              investigation.


                                                                                                                                        23
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 25 of 103
                                                                                               (     '

           And the                courts              say     special            grand             jury      can't          do

           that.              And do they                     have        the        authority               to      go beyond

           their         local             jurisdiction                    and        haul          in     state

           officers.                      And all             of     these           statutes              and       these

           court             of    appeals              cases          say       you        can't          do that.                You

           cannot             usurp             the     authority                of      the        AG and           the

           general                assembly              or     the        governor                 for     yourself              as     a

           state         prosecutor.

                                         THE COURT:                  Because             in        Floyd         County          they

1          were         investigating                         DFACS, which                     is        a state           agency,

1          and     it         was an investigation                                   into          the     operations                 of

1          the     state                 agency,            etc.       which            that        grand          jury

1          thought,                hey,          we're         able        to        inspect              our      clerk's

1          office.                 And I don't                     know what                gave          them       the     wild

1          hair         to        go after              DFACS.             Again,              not        this       situation.

1                                      MR. BAUER:                    So         --    but          what      they          were

1          doing             --     they         could         still            subpoena                 records           from

1          DFACS.                 It's          interesting                that          the        grand          jury's

1          authority                     does         allow        them.             Specifically,                    it     trust

2          you     to         get         documents                from         state          departments.                      But

2          what         it        can't          do,        and      what        this          court         says          was

2          quashed                in      that         case        was,         you      can't            subpoena           DFACS

2          employees.                      We weren't                  even· talking                      about       head         of

2          DFACS.                 We're          talking             about           low       level         people.

2                                        THE COURT:                  Right.              Investigation                      into


                                                                                                                                            24
Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 26 of 103



       the      operation              of     DFACS as               opposed                 to     an

       investigation                   into        maybe        there                was a hacking                       attack

       on DFACS.               And so they're                        just            trying              to     figure

       out,      hey,         you were             a victim                of        hacking.                   Tell        me

       what      you         saw on your             computer                    screen             when          the

       ransom          ware      appeared.                 That's                different.

                              MR. BAUER:                Okay.

                              THE COURT:                But          who knows.

                              MR. BAUER:                I'm          sure            the      grand             jury        could

       have       articulated                 a narrower                   way to             phrase              what           they

       were       trying         to     investigate                       that         made         it        less       direct

       on DFACS.                But     either          way,              the        Court          of        Appeals

       says       if     you want             to    take        it         to        state          officials,

       that's          the     AG's          purview,           that's                 the        general

       assembly's               purview.             That's                not         something                  you       can

       do here.               But      that's        just            the         statutory                    limits             that

       the      courts          have         put    on grand                    jury         authority.                     And

       there's           no recognition                    of        it         at     all        or      the        fact

       that      the         special          purpose           grand                jury         is      civil          by

       definition.                  Can't          be anything                       else         in

                              THE COURT:                And you                  say         that         because                of

       Bartell?

                              MR. BAUER:                Bartell                  and         Kennerly,                  yes.

                              THE COURT:                Yes.               Kennerly                 just          said           you

       can't       indict,             but      you'd       marry                the         two because                    it


                                                                                                                                        25
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 27 of 103



           can't       .indict              it        must            be civil.

                                  MR. BAUER:                             I think              that's         a clear

           implication                  of         those              cases.               We don't               even        need            to

           go there.                  We need                  to        make         our        record.                They

           attacked              or     demonstrated                            that          they      do have

           statutory              authority                         to     do it.                We don't               even        have

           to      wade        through                that            thicket              to     dispose               of     this

           subpoena              because                 sovereign                    immunity              is        not

           structural.                      It's              not        based          on suit             or        lawsuit             or

1          action           or    claim               or       any         of        those,          you     know,            words

1          that      you         can        interchange                         and        are        interchanged                       in

1          law.           It     is     jurisdictional.

1                                 So,            could              you     go to             slide         three,            please.

1                                 I know the                          Court's              aware        of        the

1          common-law                  jurisdictional                                doctrine.                   It     actually

1          predates              the        charter                   of    the         state          of    Georgia                in        our

1          first          constitution.                               But       it      was       constitutionalize

1          in      1974.          So we don't                            have         to      worry         about            is     it

1          common-law                  or        is      it         constitutional.                              It     is

2          constitutional.                              And it              is        jurisdictional.                             The

2          McConnell              case             from             2017.               And Conway                    case        makes

2          it      very        clear             that          it's         not         structural,                     it     is

2          jurisdictional                          as         do half                a dozen           other            cases            in

2          the      state         that            have           reviewed                  it.

2                                 Now,             the         special                prosecutor                  argues            that


                                                                                                                                                    26
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 28 of 103



           sovereign             immunity               is          tethered                to       the       nature             of      the

           legal       process             at      issue             as       if      it        matters              what         forum

           of    legal         process             is     being               asserted                  against             the

           State.           And I'm              going              to    show             you that's                 not         the

           case.         The entire                  argument                      appears              rooted          in        the

           issue       that         you've           raised,               _which               is      they         believe              the

           word       "suit"         appearing                      in    certain                provisions                   in        the

           Georgia          constitution                       that           provide                for       express

           waivers          of      the      jurisdictional                                immunity             means             that

1          sovereign             immunity               only             applies                in      the         context             of

1          an actual             complaint                   filed            naming              the         State         or      its

1          officers            as    a nominal                      defendant.                       But       when         you         look

1          at    how that            word          ''suit"               or        "lawsuit"or                      "action,"

1          those       words         are          actually                used             in     the         Georgia

1          constitution                   with       respect                  to      the         application                     of      the

1          jurisdictional                    bar,            it's         clear             that           there        is        no

1          such       limitation.                    Because                  the          provisions                  in     the

1          constitution                   that       say            we,       the          State,             are      immune

1          from       jurisdiction,                     t~ey             don't             have         that         language

2          there.           I'm      going           to        show           you why and                      where          that

2          is.        And there's                  no other                   defined                mechanism                or

2          process          at      all      that            limits                that         jurisdiction.                           So,

2          you      know,        even        if      you            accept            his         argument              that            suit

2          or     lawsuit
                     -1
                                    means          a complaint                        or        petition               or     some

2          defined          cause          of      action,                which             according                  to     Black's


                                                                                                                                                27
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 29 of 103



           Law Dictionary                            --         by the              way that's                   not         what             those

           words         mean.             It        doesn't.                       So,         let's           look         at         the

           constitution.                         So,            this          is        Georgia               Constitution

           Article          1 Section                      2 paragraph                          9.       This          is         the

           primary          provision                      in        the        constitution                          that         provides

           for      sovereign                   immunity.                       And up until                          the         amendment

           a few years                 ago           that            constitution                        was the                  sole

           location             in     the           constitution                          where              you would                  find

           any      waiver.                So,            the        key provisions                             in     here             that

1          actually             provide                   for        the        --        they          incorporate                      the

1          common-law                 sovereign                      immunity                   are      subsections                          (e)

1          and      to     a lesser                  extent                (f).            So,          let's          look

1          primarily                 (e)    here.                      (E)         is     the         actual           expression

1          of      immunity            in        the            state           of       Georgia.                     This         is         the

1          source          language.                        "Except                 as     specifically                       provided

1          this      paragraph,                      sovereign                      immunity,                   no limitation,

1          no suit,             no action,                       no law                 suit.           It      extends                 to     the

1          state          and    all            of        its        departments                        and      agencies,                     the

1          sovereign             immunity                       of      the         State             and       its         departments

2          and      agencies               can            only         be waived                     by act            of         the

2          general          assembly,                      which              specifically                       provides

2          sovereign             immunity                       is      thereby                 waived           to         the         extent

2          of      such     waiver."                       That            is       not         limited               to     any

2          specific             cause            of        action.                      As you               know,          you very

2          articulately                    laid            out          the         history              of      the         Supreme


                                                                                                                                                      28
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 30 of 103



           Court's                  look      at      these           provisions                  over            the         last       10

           years,              last          week.             They         are      issuing              opinions                    t~at

           expand              the         scope         of     that         and        clarify,               making                 sure

           that        people                who are             concerned                that          they            don't          know

           what          it         applies           to       know it             applies              to        everything.

           But      if         you          look      at       this         source          language                    it     is      not

           limited.                    It     doesn't             say        sovereign                  immunity                 the

           State              enjoys          it      only        for        suits,              lawsuits,                    actions,

           claims.                   That's           just        simply             not      what           it         says.            So

1          where              does         that       language               come from.                      You can                  find

1          it     in          the      exemptions,                    express             waivers,                 and         only

1          there.

1                                      THE COURT:                     And they're                   all           for         civil

1          actions.

1                                     MR. BAUER:                      And they              are         specifically

1          identified.                        So,        the      only        place           those               limiting

1          descriptors                       show up is                when          they         are        in         the

1          constitution                       explaining                    the      limits             of        those          express

1          waivers.                    So,         you     got        the         constitution                     saying              we

2          are      immune                 unless          we tell                you     otherwise.

2                                     THE COURT:                      But         immune          from         what?

2                                     MR. BAUER:                      Jurisdiction.                          You can't

2          bring          me into                  court        for         any      reason.                 It         is

2          jurisdictional                           bar.          The State                 is     above                the      reach.

2                                     THE COURT:                      Where          is     there            a case              ever


                                                                                                                                              29
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 31 of 103



           that       says         that            includes           criminal             proceedings?

                                   MR. BAUER:                   It     doesn't             have            to     unless

           there          is      an expressed                  waiver            for         it.          Now

                                   THE COURT:                   But        then         there'd              be a case

           that       says,            oh,         you actually               can't             haul         this         person

           into       court            for         criminal           proceedings                    because              of

           sovereign               immunity.                   One of         these             local           prosecutors

           with       a local                judge       would         have         tried            it,        and       if

           sovereign               immunity              prevented                a state              actor          from

1          being          hauled             into      court          in     connection                    with       a

1          criminal               investigation                      you     know there'd                       be a case

1          about          that.              Your      brief          says        nothing              about          that.

1          So,      I guess,                 that's           what      I --        we don't                 need         to

1          quibble              about          what      "suit"            means.               Pick         your         words:

1          Suit,          action,              complaint,              etc.         The dividing                      line        as

1          I understood                      it,      civil          and     criminal.                     And there

1          were       no cases                 in     your      brief.              You have                 mentioned                 no

1          cases          yet      is        what      I would             have         led         with.            Oh,       look

1          at      this         case         from      the      Georgia             Supreme                .Court.

2          Georgia              Court          of Appeals,                 wherever                 that        says,          hey,

2          sovereign               immunity              also         applies             to        criminal

2          actions.                Because,              of     course,             the         State           is    an actor

2          in     a criminal                   action.            So,        this         notion             of      importing

2          sovereign               immunity              gets         kind        of      sticky             because            it's

2          State          vs.      State.              And I appreciate                             you've           used       the


                                                                                                                                            30
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 32 of 103



           word       "local"         in      front             of      everything.                        If     there         were

           an indictment                 from            the         grand          jury        that        processes

           the      special          grand          jury             report,            that         indictment

           wouldn't            say    local              Fulton             County.                 It     would         say

           state       of      Georgia             vs.         --     there's              is       two people.

           Some of           them     might              be     state              actors.                And I don't

           believe           those       state            actors              could          say,          oh,      sovereign

           immunity,            you      can't            indict              me.          But           I could         be

           entirely            wrong.              I'm         just         waiting             to        see     that         case

1          that       says      if    you're              in         the      criminal                   realm      sovereign

1          immunity            doesn't             apply.                  Isn't        that         the         argument             of

1          the      District          Attorney's                      Office?

1                               MR. BAUER:                      Okay.               So,      that          appears             to     be

1          their       argument.

1                               THE COURT:                      So pretend                   it's          my argument

1          now.       Say why that                  doesn't                 work.

1                               MR. BAUER:                      Just          because               you      label        it

1          criminal            doesn't             make         it         a criminal                proceeding.

1                               THE COURT:                      And that's                   your          argument

2          that,       look,         this          special              purpose              grand           jury        is

2          actually            a civil             thing.               And if             you're            right,

2          civil,        I agree,             sovereign                     immunity.                     I don't         see

2          any      waiver        anywhere.                     But         indulge             me for            a moment.

2          You know what,                   it's          a criminal                    investigation.                          The

2          only       discussion              is         criminal                  statutes.                 The only


                                                                                                                                           31
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 33 of 103



           concern          is     was        there         criminal                    interference                       with         a

           2020      general             election               in      Georgia.                     So,       it's         a

           criminal           investigation.                            No jurisdiction.

                                 MR. BAUER:                     It's         an investigation                               into

           whether          a crime            was committed,                            but         it's           not     a

           criminal           investigation                       because                it     cannot                result            in

           any      criminal             indictment                    or    presentment                       being            made.

           That         was the          choice            of     the        District                 Attorney                  when

           they         opened      this            investigation.                             They          chose          to      go

1          to     the      route         of     a special                   purpose             grand               jury        that

1          can      just     write            a report.                     That's             all          they       can        do.

1          And that          doesn't                convert             this            into         a criminal

1          inquiry.              And I don't                    think            it's          settled                by any

1          stretch          that         even        if     this            were         a criminal                    grand

1          jury      proceeding                that         the         DA could                summon the

1          governor          to     it        as     a witness                   only          to      talk           about         the

1          performance              of        his      official                  duties              while            he sits               in

1          office.

1                                THE COURT:                     I don't                 know if              it's          settled,

2          but      you haven't                shown            me anything                     that           says         that

2          couldn't.               I guess                I'm     curious                if     it          were       a GBI

2          investigation.                      So,         they         can't            indict              anything

2          either          and     they're             trying               to     interact                  with          folks,

2          and      they     try         to    get         legal            process             to          do something.

2          Sovereign             immunity?                  No,         you        can't             do it            because               we


                                                                                                                                                 32
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 34 of 103



           haven't          waived               it.          It's          not          --    I think             what        you're

           bumping          up against                       is      the         fact         that         even       though            it

           doesn't           say         civil           in       Article                1 Section                2 Paragraph

           9,      sovereign              immunity                   applies              to     civil            action           suits

           against           the         State.               But          if     it's         criminal               it      is     the

           State.            The State                   is       the       actor.

                                   MR. BAUER:                        Justice              Blackwell                  gave      us       the

           history           lesson              a few years                      ago.

                                   THE COURT:                        And Peterson.                          We got            a lot

1          of     history           lesson.

1                                  MR. BAUER: We got                                a lot            of     lengthy

1          decision,               but        they're                not         really          complicated.                        And

1          what      they're              saying              is,          and      the        reason             we had           this

1          constitutional                        amendment                  a few years                     ago       is      that

1          Lakeford           vs.             [Hugh]          Case              came      out        and      basically

1          said,       sorry             guys,           you         got         nobody          to        sue.

1                                  THE COURT: Sue to                                bring            a civil               lawsuit

1          against?

1                               MR. BAUER: In                              that          particular                  case,         yes.

2          But      what      they            said           was the              sovereign                 immunity               is        a

2          jurisdictional                        bar         that          is     virtually                 absolute,

2          broad       sweep             is      the         language               they         us~d,            and       dates

2          back      to      the         sovereignty                       of     the         King.           It's          not

2          about       the         nature               of    the       process                or     the         nature           of

2          the      tribunal.                    It's         about              whether             the      State           like


                                                                                                                                                 33
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 35 of 103



           the     King        of      Old            has         consented                   to       jurisdiction.

           Now,       the      King          of        Old            couldn't                be        compelled                   into          any

           court        he didn't                     want            to      go to.               We're             a little                  more

           sophisticated                        than            that.              You're              the          King,           state          of

           Georgia,            which                 include                its         chief           executive,                    the

           governor.                 But             we're            going             to    carve            a little                  bit

           out     of       that,          and             we're            going            to     say        unless               the

           State        has         put         it         in     the         constitution                          or     the        general

           assembly            has         done             it,         and        the        governor                   ironically

1          signs        it,         you're                 above            the         law       as     far         as        process

1          and     tribunal's                        concerned                    for        your        official                   duties.

1          And this            is         really                the         keep         point           here.                 They         are

1          not     trying            to         summon the                        governor               to         talk         to .him

1          about        things             that             were            outside               the        scope             of     his

1          official            duties.                      They            want         to       talk         to        him        about

1          what       he was              doing             in        office             performing                      his        duties.

1          He is        the         King             for        purposes                 of       sovereign                    immunity

1          jurisdictional                            bar        unless             the        constitution                          or      the

1          general            assembly                     has        said         otherwise,                       and        they

2          haven't.                 Now,             I'm        --you             know --               you're             not        going

2          to    agree         with          me.                 I don't                think           that         the         special

2          purpose            grand             jury            isn't             criminal,                  it's          civil.               And

2          I think            that         answers                    the         question.                    But         the

2          governor            is         not         above             the        law.             He's            never

2          contended                he's             above            the         law.


                                                                                                                                                        34
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 36 of 103



                                   THE COURT:                         He's         just            the         King.

                                   MR. BAUER:                         Subject                 to               he's             the         State,

           right.               He is         not         the         King;          he's           the            State.                  But

           that          immunity             of         the         State         which            his            office              has        to

           enjoy          and      protect,                    not      just            for        the         performance                        of

           his      duties             but         for         the      next            governors,                       and          the      next

           governors.                   Yes,             the         State          enjoys               in        the          Supreme

           Court's              words         absolute                  immunity,                     unless               it         is

           consented               otherwise,                        through             these             processes.

1          General              assembly                 or     constitution,                            it        doesn't                  exist.

1          And I don't                  think             we or             the         governor                   have          the

1          luxury           of     pretending                        that         immunity                    doesn't                 exist,

1          and      it      is     a jurisdictional                                bar         because                   it's

1          politically                  convenient                      for        him         to        do so.                  Mr.

1          McEvoy           is     going            to         talk         to      you        about               all          the

1          efforts              that         the         governor                has          made            to    try          to         engage

1          with          this      investigation,                             but        once            that            subpoena

1          issue          he was put                     in     a position                     where               he had              to

1          either           enforce                the         law      of        the         state            of        Georgia,

2          which          includes              making                sure          that           there            is          no

2          inadvertent                  waiver                 or     derogation                      of       this             important

2          immunity              the         State             enjoys             and         he is            duty             bound          to

2          protect.

2                                  THE COURT:                         Is      there            a particular                            reason

2          we're          having             this         discussion                     now and                   not          when         --      I


                                                                                                                                                         35
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 37 of 103



           think              this      is      how it          played.                   I may be mistaken.

           The secretary                        of     state           fall         under             this         definition.

           Received                  a subpoena.                 Attorney                     General,              the         chief

           law         officer             of    the        state            received                 a subpoena.                     Why

           is     it          the     King       rather              than          his        chief          counsel             or     the

           sec~etary                  of     state?

                                      MR. BAUER:                     It's          a fair             question.                  Mr.

           McEvoy and                   I would             have            very         much liked                 to     have

           been          --

1                                     THE COURT: Engaged                                 in     --

1                                     MR. BAUER:                     Counsel              to       those           gentlemen

1          before              they        made        their          decisidn,                    but       they         do enjoy

1          the         same          sovereign              immunity.

1                                     THE COURT:                     It      could            be      the      same

1          argument.                    And they               could           chose            to       enforce           it      or

1          say         I'll          honor       the        subpoena                and         let         this      grand           jury

1          hear          what         I have           to      say.

1                                     MR. BAUER:                     The Court                  is       sophisticated

1          enough              to     know that                both          of     those             ·state        officers,

2          they          have         had       independent                    reasons.                   One primary                   one

2          being              the     timing           of      the          outreach.

2                                     THE COURT:                  Months                 ago.

2                                     MR. BAUER:                     For                  and         scope.              We don't

2          know what                  kind       of     discussions                       their             legal         team        had

2          with          the         District           Attorney                   before             they         agreed          to


                                                                                                                                              36
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 38 of 103




           come talk.                   We don't                 know if             they         were          reassured

           that         their          executive                 privileges,                  their

           attorney/client                          privileges,                     the      scope            of    the

           questions                 would          be      limited                and     appropriate.                     We

           just         don't          know.             That's              questions              that           I think

           they         would          have         to      answer.                 But      sovereign                immunity

           is     not      there's             to        waive.               And while                 the        attorney

           general              is     one     of         the        law      enforcement                     officers            who

           has     a duty              to     uphold             the         law     in      the        state         of

1          Georgia,              the        governor                 is      the     chief          executive.                    And

1          the     constitution                      is         very         clear         that         he doesn't                have

1          the     luxury              of     ignoring                 something              as        important                to

1          the     State's              continuing                     operations                  as    this

1          jurisdictional                      principle                     merely         because                he was

1          going         to      be put             in      this            awkward          and        uncomfortable

1          situation                 where          he's,            you      know,         being          disparaged                 on

1          a daily              basis         for        the         way this              process             has

1          unfolded.                   He did            not         choose          to     have         the        subpoena

1          implicate                 this      important                     jurisdictional                        doctrine,

2          but     it      did.         As soon                 as     it     was         issued         he was            left

2          without              a choice             if      he was going                     to        fulfill            his

2          constitutional                      duty            to      make         sure      that         that           immunity

2          is     upheld             and     protected.                       The Court

2                                    THE COURT:                      So,      I want          to        follow.             I

2          follow          most         of     that.                 He was          left         without             a choice.


                                                                                                                                           37
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 39 of 103



           Are     you       saying            he,      the        governor,                  didn't              have         the

           same      liberty              that        the        secretary                   of    state           or         the

           attorney              general             and      could             have         elected              --     it     would

           have      set         a precedent                  that          governor                 in     his        wisdom

           would      have          made,            but      could             have         said,          all        right,

           you     know what,                   I'm        going          to     showup            any~ay.                    I don't

           necessarily                 think          this         is       something                  that        has

           jurisdiction                   over        me.          It's          a piece               of     paper            that         I

           could      choose              to     ignore,              or        as     you        said,           he had             no

1          choice          but      to.          And I assume                         that        was to           defend             --

1                                  MR. BAUER:                    And it's                rhetorically                         because

1          honestly              these          proceedings                     are      suppose              to       be

1          secret,           the       grand          jury         investigation.                             Yet,            somehow

           this      stuff          plays            out      on the             front            page        of       the      pap~r

           seemingly              multiple                 times          a week.                 I don't              actually

           know whether                   the        attorney               general               and       secretary                 of

           state      were          subpoenaed                   or      whether              they          were

           appearing               voluntarily.

                                   THE'COURT:                 Me neither.

                                  MR. BAUER:                     Mr.       McEvoy             is       going           to      tell

           you at          length          what            efforts              the      governor                 made         to

           engage          voluntarily                 with           the        District                 Attorney's

           Office.               So,      the        change,              the         duty        to      make         sure          that

           he is      not          complicit                in     an unauthorized

           investigation                   exceeded                its          authority                 came when                  that


                                                                                                                                                38
Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 40 of 103



       subpoena            issued.                 So,       you         know,        we kind              of     talked

       jokingly            about            the        State        being            the       King,         and        I'm

       not       trying          to     suggest              that         the        governor              views

       himself            in     that        way.            I have             to      clarify            because

       we've        got         lots        of     people           watching.

                                THE COURT:                   Understood.                       Me neither.                      You

       were       simply           going           historical,                   and          the     term        is

       sovereign                immunity.                   There         is     no sovereign                     in

       America,            but         there           is    a head             of      the         government                and

       head       of      the      executive                 branch,             and          our     duly        elected

       governor.                 And that               would            be where              sovereignty

       starts.

                               MR. BAUER: That's                            right.               And the

       principal                derives            from           the     King.             And so you have

       to     understand                that           context            to     properly                 apply         the

       principal                here.             But       the         governor            doesn't              think

       that       he is          beyond            any       reach          of       law;           he is        just

       beyond          the       reach            of    this        particular                      subpoena

       because            there         are        other           mechanisms.                       If    the      State

       needs        or     wants            to     investigate                   the          official

       activities                of     the        governor,                that           legal          authority

       does       exist.               It     just          doesn't             exist          with        this

       special            purpose             grand          jury.              It      exists            with      the

       attorney              general,              with           the     general              assembly             on

       multiple              levels.               And constitutionally,                                   there          are


                                                                                                                                      39
Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 41 of 103



       proceedings.                     We've                seen      them         at      the       national              level

       where       the         legislatures                         can      hold        the         chief       executive

       accountable                  for      violations                      of     law        or     other

       misconduct               related                 to      the        official               performance                 of

       his     duties.               They              get      to     do

                               THE COURT:                       Sure.             With          a slightly

       different               setting                 again.              Again,           my understanding

       is    not    that            the      purpose                  of     the      subpoena               was      to      hold

       anyone       accountable,                         but          to     gather             information,

       investigate.                       It's          a body             that       can't           hold       anyone

       accountable.

                           MR. BAUER:                           That's             right.             So,       I'm      going

       to    wrap        up,        I think,                  with         that       point.              You know,

       the     governor              wasn't                  looking          for         an unnecessary

       fight       with         an important                          branch          of       his

       administration.                            But         he does              need         to    defend          the

       important               constitutional                          and         statutory              limits            of

       the     grand           jury's             authority                  to     protect              the     next

       sitting           governor                 from          what         I'm      not         suggesting                its

       misuse       here.                 Some might.                        But      the         next         governor

       needs       to     know that                     his         office          is      protected              from,

       perhaps,           an over                 zealous              administrator                      of     a special

       purpose           grand            jury.               So,      we're          here           asking        the

       Court       to     follow                 the         clear         law,       what           we think            is       the

       clear       law         of    the          state             and      hold         the        special          purpose


                                                                                                                                        40
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 42 of 103

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           grand           jury         to      that         law,          to      its           statutory                     limits              and

           to      its          jurisdictional                          limits.                  We think                     the

           subpoena                is      ultra          vires.                  It's           due            to      be quashed

           for       lack          of      jurisdiction.                        And I will                             leave         the

           Court          with          this.             You know,                      it's          kind             of     where           I

           started.                   If     there's               any       doubt               in         the         Court's             mind

           about           where           these          lines            are           drawn,                 we're          going          to

           need          appellate                 clarity               on this.                      And proper                      avenue

           here          is      to     defer           to        the      protection                           of      the

1          constitutional                          principles                     and           the         State's

1          sovereignty                     defer          to       the       jurisdictional                                  bar      until

1          the       appellate                  courts             tell         us         that's                 not         the      right

1          way to               do this            to     answer             the           questions                     that          you've

1          asked.                So,       we would                urge          the            Court             if     you have

1          questions                  or     concerns                   about            the          reach             of     sovereign

1          immunity                here,           that           you      give            us         the         quash             order          and

1          let       the         State          take         it     up if                they          want,             and         we'll

1          get      the          clarity            from           the       appropriate                             appellate

1          court.

2                                     THE COURT:                    All          right.

2                                     MR. BAUER: Thank                             you.

2                                     THE COURT:                    Mr.         Wakeford.

2                                     MR. WAKEFORD: What                                        opposing                 couns.el             just

2          said,           if      your         Honor          has         questions                        just         quash          the

2          subpoena.                    But        your        Honor            asked                 several                questions


                                                                                                                                                         41
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 43 of 103



           and      I didn't              hear      from        opposing                  counsel               answers           to

           those           questions.              So,       this           proceeding,                     which         is

           clearly              criminal,          why is             it         civil?              This         proceeding

           which           is    not      a lawsuit,              but            instead             a subpoena,                  why

           does       sovereign              immunity                apply          to       that?              There      has

           still           not     been      a direct                answer             to        those         questions.

           And finally,                   where        is      the         authority                 for        this

           position?                Where         is     the         case         that            states          that      the

           governor              can      have     his         subpoenaed                    quashed              on these

1          circumstances?                        Well,         there             were        not          answers         to

1          those           questions.               So,        I'm         at     your            Honor's          disposal.

1          If      you have              questions             for         me,      but           our      position             is

1          that       this         is     a criminal              proceeding.                             Sovereign

1          immunity              applies          to     immunity                 from            suit.

1                                  THE COURT:                What makes                      it      a criminal

1          proceeding?                    I guess           what           I'd      like           you      to     focus          on

1          is,      it's         not      quite        exactly              where            Mr.          Bauer        started,

1          but      page         two.        Bartell                        I understand                        what

1          Kennerly              says.           Different                 sides          have            invoked

2          Kennerly.               I've      invoked            Kennerly.                         Just      to     let

2          everyone              know this             grand          jury          is       issuing              a report,

2          not      an indictment.                       That's             the         extent             of     their         end

2          game authority.                        To me it's                     less        clear          they've

2          extended              their       authority                to         summons             people            before

2          the~.            What makes              this        special                 purpose             grand         jury         a


                                                                                                                                           42
Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 44 of 103
                       r




       criminal               proceeding                 as      opposed             to     a special                  grand

       jury.               That         special'         grand          jury         that        was

       investigating                       something                 plainly          civil.

                                  MR. WAKEFORD:                       I think             DFACS             --        if     you

       were           investigating                     the      administration                        of        DFACS, if

       it      declared                 itself          a civil          investigation                            --       first

       of      all,         the         Kennerly              case      is     --when            it        says        the

       language                  that      opposing              counsel             relies            upon.               It      is

       interpreting                       Bartell.               It     says,         Bartell               says

       special              purpose              grand         jury's          are        only         civil.

       That's              not      what         Bartell             says.           That        grand            jury          was

       civil           and        declared              itself          as     such.

                                  THE COURT:                   Do you          know what                   the        special

       purpose              grand          jury         in     Bartell           was tasked                      to    do?

                                  MR. WAKEFORD: The grand                                     jury          in        Bartell

       actually                  wasn't          clear         which          statute            that            grand          jury

       was       impaneled                 under.              And the           Court           in        Bartell

       ultimately                   says,          you        know,      it      doesn't               matter

       because              it      says         it's         a civil          grand          jury.               It       could

       have       been            under          the     regular              grand         jury           statute.

                                  THE COURT:                   Does      that         have            to    do with                the

       oaths           that         were         administered?

                                  MR. WAKEFORD: Yes.

                                  THE COURT:                   And gosh,              which            provision

       should              they         have       used.


                                                                                                                                         43
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 45 of 103



                                      MR. WAKEFORD: Right.

                                      THE COURT: Not                    to        dive         deeper           into

           Bartell,               but     what          would          distinguish                     Bartell              for      me

           is      if      its        charter           was to          determine                  if      there            had

           been          a violation               of      the         city         code         in      a non-criminal

           way with               the     way somethjng                       has         developed.                    It        had

           nothing               to     do with          alleged              criminal                 activity.

                                      MR. WAKEFORD: And the                                part          of      the

           decision               in     Bartell           is         they         say      we don't              know which

1          statut~               this     grand           jury         was chartered                       under,             so

1          there           is     no charter.                    But         what         the      oath          is     Bartell

1          said          is,      do you          swear          to     tell          the        truth           in     this

1          civil           investigation                   into         the         Department                   of     Family

1          and          Child         Services.                It's          clear.              So,       the         Court         of

1          Appeals               says,      it     doesn't              matter.                  It      could          be under

1          either              because           15-12-100,                  the      special              purpose                 grand

1          jury          statute           says         that          you     can         be     impaneled                   for

1          either.                You can           impanel             one         to      investigate

1          anything               that      a normal                  grand         jury         can       investigate.

2          A normal               grand          jury      can         investigate                      civil          or

2          criminal               proceedings.                        So,     then          we look              --     I mean,

2          the          language           of     the      statute                 says         that       a special

2          purpose               grand      jury          can     be         convened              to      investigate

2          any          violation           of      the        laws          of     this         state.                The

2          impaneling                   order      which          was         issued             by the           chief


                                                                                                                                           44
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 46 of 103



           judge         of     this         circuit              said          that        any        violation                    of

           the      laws        of        this        state        can          be       investigated                     within

           the      subject.matter                         that       is        relevant               for         this

           special            purpose              grand          jury.               And in           the         request

           from      the        District                Attorney                for        a special                purpose

           grand         jury        it      was said              over            and      over        that            there

           could         be possible                    criminal                disruptions                   to        the         laws

           of     this        state,             and       that       is        what        it     is

           investigating.                         Over         and        over           again         this         has        been

1          emphasized.

1                                  Finally,                you have                the      authority                   of     a

1          special            purpose              grand          jury          who is            investigating

1          criminal             matters               to      make        recommendations                           in        its

1          report           that          certain             criminal                charges           be pursued.

1          So to         say       that          because           of       a line               in.Kennerly                     that

1          misinterprets                     the        holding             in        Bartell           that            this          is

1          somehow            civil,             and       there           is      no amount                 of     other

1          authority               or      specific               information                     in    this            case          can

1          say      otherwise                is       --      well,         it's           just        not         true.

2                                  THE COURT:                     Well,            let's          say        for        a moment

2          that      it's          fair          to     characterize                       the     special                 purpose

2          grand         jury        here          as      one     that's                engaged             solely              in

2          criminal             investigation.                           Why does                 sovereign

2          immunity             then         not        apply         to        the        subpoena                to      the

2          governor?


                                                                                                                                            45
Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 47 of 103




                               MR. WAKEFORD:                       Well,             sovereign                immunity

       --      if    I could            look          to    the        constitution.                          This         was

       cited         by opposing                  counsel.                  Article             1 Section                  2

       Paragraph                9.      "It       may waive                 the         State         sovereign

       immunity             from        suit          by enacting                    a state            tort         claims

       act."             I mean,             we are           talking             about         items           and

       matters            that         have       absolutely                   nothing             to      do with              the

       criminal             investigation.

                                Additionally,                     this         is       not     a suit.                  This

       is      if    they        had        meant          any     legal             proceeding

       conceivable                   they       could          have           said       so.          But       this           is

       talking            about         tort          claims.               This         is     talking              about

       proceedings                   against            the       State           where         the          State         is        a

       party.             This         is     a subpoena                 to       the         governor              as     an

       individual                about          his        activities                   as     a witness                 to     the

       actions            of     other          people.

                                THE COURT:                  Well,           yes.             But      to      Mr.

       Bauer's            point         it      wasn't            a witness                  where         he happens

       to      be driving               from          home to            work           and     there           was        an

       accident             or       he saw people                     in      a fight.                 It      would

       have         --    the        only       reason            he     is       connected                to       this        is

       because            of     his         official             capacity.                    And as           I

       understand                the         theory         of     the         investigation

       intreaties                that         he exercise                   his       authority                 in

       certain            ways         to     benefit             folks           who thought                   that           the


                                                                                                                                         46
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 48 of 103



           electoral              outcome                wasn't           what            it       seem          to      be.          So,

           yes,      witness.                     And I've               seen        nothing                   that       suggests

           the      governor's                    anything              but         a witness,                      as    in     we're

           interested                 in         learning              from         you          --       subject,              not

           target          --     to        get         into       that         messy              nomenclature                       that

           raises          pulse            rates.               But      it        is         still           in      connection

           with      his         official                 duties,              which             is       why I think                  we

           then      need         to        explore              the      concept                  of       sovereign

           immunity.                  Because              I don't              think                  --      I think           Mr.

1          Bauer       acknowledged                        this.               If        the       governor               had        been

1          driving          home            from          work         and      had            been         going         90 in             a

1          35 zone          and            hit      someone              and        there              was       a lawsuit

1          over      that         accident                 I --          that        would                be victim              of

1          accident              versus             the        name       of        the          governor.                     Not

1          governor              in        his      official              capacity.                         And I don't

1          think       sovereign                    immunity              would                help         him a lot

1          there,          but        it         certainly                --        if         this         were         a civil

1          investigation                         this      is      the         governor                   in     his      official

1          capacity              responding                    how ever              he did                 to      people            from

2          the      outside                of     Georgia              and      inside                 of      Georgia           saying

2          why not          take            this          course          of        conduct.                     Why not              do

2          this.           We ought                 to     do that.                  So,           it's          --      to     call            as

2          an individual                         unless          I am --you're                            much         closer          to

2          where       this           special              purpose              grand              jury          has      gone,            but

2          on the          surface                the      lay      person                understands                     it     to        be


                                                                                                                                                     47
Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 49 of 103




       the     governor                   as    governor               and         not      as       I happen                 to

       live         in     Georgia              and        these         things             happened.

                                MR. WAKEFORD: That                                  analysis                of     whether

       acts         or     official                 acts       or      acts         in      official                   capacity

       is     always            undertaking                    when there                   is       a lawsuit.                         So,

       to     put        that        ana~ysis                 ahead        of       the         determination                           of

       whether             this           is    a lawsuit                or        not      puts           the         cart

       before            the        horse.               It    inverts              the         analysis,                   and

       it's         just        not        relevant                because               this        is     not         a

       lawsuit.                 This           is    a subpoena                    to     ask        the         governor                to

       be a witness                       in    a criminal                 investigation.                               So,        it

       just      doesn't                  apply.              And if          it        did,         I'm         not        sure         if

       the      implications                        of     their         position                have          been           fully

       thought             out       and        explored.                  Because               police                officers

       are     arms            of    the        state,             and     they're               subpoenaed                      to

       appear            in     court           proceedings                   all         the        time.              I have

       yet     to        hear        that           a police             officer                or    state             trooper

       who is            an employee                     of    state          government                    cannot               be

       subpoenaed                   to     come in             and       provide                testimony                   in

       criminal               matters.

                                THE COURT:                     GBI agent.

                                MR. WAKEFORD: If                           this           position                is

       validated,                   the        power          of    this           court         is        entirely

       destroyed                with           regard          to      a whole              host          of      actors.

       And it            simply            doesn't             flow        from           logic           or      the         way


                                                                                                                                              48
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 50 of 103




           the      law         is        suppose          to          fit      together.                  This         grand

           jury       has           asked          the     governor                  to    come forward                       in     the

           same       way that                   his      legal              advisor,           under           the      laws          of

           this          state,             the        attorney                general          was        asked         to         come

           forward.                   And as             your          Honor         pointed            out       this         is      the

           first          we are             hearing              of         this        argument.                And yet,

           the      legal             advisor             to      the          governor            has      come forward.

           At no point                      was there                  a motion            before           this         court

           from          the        attorney              general               saying          sovereign                immunity

1          applies              to     me.

1                                     THE COURT:                       But      that       doesn't              make          the

1          argument                 a stronger                  or       weaker           argument.                   The timing

1          is      peculiar,                 but         we have               explored            that,          and         Mr.

1          Bauer,              I think,                helpfully                reminded            me there                  are      a

1          bunch          of        different               reasons                 why different                     state

1          actors           would            make         different                  choices            upon          receiving

1          an invitation                          from      the          special           purpose              grand          jury.

1          We're          confronted                     with          this         motion         at      this        point           and

1          time          and        the      merits             of       the        sovereign              immunity

2          argument                 I don't              think           hinge           on when           in     the         course

2          of      the         investigation                      or         even        more      so when              in     the

2          course              of     the         interactions                      in    trying           to     get         some

2          communication                         between               your         investigation                     and      the

2          governor's                     office.               It's           come up and                 we need             to

2          engage,              all         of     us,     both              sides        and myself,                   the


                                                                                                                                             49
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 51 of 103



           merits        of     the        argument               and       not       so much             the      timing.

                                MR. WAKEFORD: Aside                                  from       that,           your

           Honor,        the        application                   of     the         Floyd         County          cases

           which       specifically                   speak            to'the            regular              grand         jury

           statutes            authorizing                  specifically                       civil

           investigations                     in     the     State             offices             simply          do not

           apply       under          these          circumstances                       for       reasons             that

           should        be obvious.                       This        is      not       a regular               grand

           jury       authorized               to     investigate                     a civil             matter.

1          It's       a special               purpose             grand           jury         specifically

1          authorized               to     investigate                   criminal               matters.                 So,        I

1          believe        our         position              is     clear             and       was      clear          in     the

1          briefing            and       has        been     clear             here        today.               This

1          simply        there           is    no application                         of       sovereign

1          immunity            in     these          circumstances,                        and         this      is      not·a

1          lawsuit.             Sovereign                  immunity               would         be               the

1          application                here          would         be     in       contravention                    of

1          decades        or        centuries               of     practice                in      this         state.

1          They've        presented                  no authority                     to       indicate            to       this

2          court       that         this       court         shouldn't                   grant          quashal             on

2          this       case.           And unless                  your         Honor           has      additional

2          questions,               I believe               our        position                on this           matter             is

2          clear.

2                               THE COURT:                   I have               one      last,          and      I'm

2          importing            from          the     federal               side.              But      this       notion


                                                                                                                                         50
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 52 of 103



           that      summoning                 in      an active                   executive,                    sitting

           president,               sitting             governor,                    sitting             mayor.                   The

           executive              of      whatever                 level           of     government                    you're

           look;i..ng       at.           That's             the        issue.              So,         yes,          maybe

           there's          immunity,                  but         there's               also        just         the        policy

           practicality                   of     we don't                do that                because               we need                to

           let      that         individual               perform                  his      or       her         important

           function              and      when         the         sunsets               on that

           administration                       then         let's           have         that          conversation

1          with      a person              who occupied                         that        office.

1                                 MR. WAKEFORD: Well,                                     there            is     no

1          authority              again          for         that        position                in        the        state            of

1          Georgia.               There          is     no gubernatorial                                immunity                  from

1          process.               Whether              he is            the        King         of      the       state             or

1          anything              else,          there         is        no basis                in      the       law         for        a

1          position              like      that.              The governor                        is     not          the

1          equivalent               of     the         president.                        Additionally,                        I

1          believe          that          they're              sort           of     a           they're                sort           of

1          two      considerations.                           They            sort        of      say         that          he is

2          the      sitting              governor             and        therefore,                     he can't                  be

2          pulled          in.           But     there             is    no basis                 for         that.               And

2          there's          also          a citation                    to      cases           under            federal               law

2          that      invoked              the       touhy            doctrine,                  which            is

2          specifically                   promulgated                      in      federal              courts              to      say

2          that       federal             bureaucrats                    cannot             be       forced             to


                                                                                                                                                  51
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 53 of 103



           testify             over         the         --      without              the         authorization                  of

           their           superiors.                    That          is      a wholly                   [indiscernible]

           of      federal              law.            Has absolutely                           no advocation                  of

           the       Georgia             law       and          doesn't              impact               --shouldn't

            impact          this         court's                analysis                 at      all.

                                   THE COURT:                         I think              the       word       is      agents

            and      not       bureaucrats.                           But,          yes.

                                   MR. WAKEFORD: Pardon                                       me.

                                   THE COURT:                         That          is     what           Touhy      does.

1          That's           definitely                   what          Touhy             does.             Okay.         I

1           appreciate                  that.

1                                  Mr.          Bauer,           was         there            anything              you heard

1          that          you     just           can't           let      go by or                  can       we transition

1          to      the      next         topic?

1                                  MR. BAUER:                         I get          paid          by the           hour,       your

1          Honor.              I have             two points.

1                                  THE COURT:                         Okay.              Not by the                 word,       by

1          the       hour?

1                                  MR. BAUER:                         Right.             So,       I'll       try       to.be

2          brief.

2                                  It       is     not          our     burden                to     show       there        is      a

2          waiver           of     sovereign                    immunity,                  right.             Constitution

2          says       we have               it.          It's          jurisdictional.                              The only

2          way the             governor             in          his      official                  duty       can       be hauled

2          into          court        for         any        reason            if        there's             something            and


                                                                                                                                         52
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 54 of 103



           maybe        you've            seized                on something                      that        I haven't

           found          that      says,            if         it's          criminal               and      he     is     a

           witness,              he could             do it.                      You have            the      authority                    to

           do it.             But        under           the           construct                of    our      constitution

           we don't              have         to     give              you        that         authority             that         says

           you don't               have        the         authority.                          They've         got         to     show

           you      the       authority                   for          the        waiver,            and      they         haven't

           done       that.              They've                said          we haven't                 done        it,        but

           that's          flipping                the          burden             on its            head.           The

1          default            is    the        State              is         immune            from      process            absent

1          a waiver.                They've                got          to        show you            the      waiver.

1          This       --

1                                  THE COURT:                          That        is,         indeed,         what         the        law

1          says       if      sovereign                   immunity                 applies            to      that

1          situation.                    So,       what           I heard                the      State,           meaning             the

1          District              Attorney's                     Office             argument              to    be      is       we

1          don't        need        to        point             you          to    a waiver              because

1          sovereign               immunity                applies                 to     suits,            actions,.             etc.

1          And you've               responded.                         I get         that.            But      I think                the

2          two      sides          are        talking                  passed            each        other         a little

2          bit      and       definitely                   passed                 me because                you      don't           have

2          the      burden          to        show that                      immunity             applies.                 They

2          need       to      show        there's                 a waiver.                     Someone            has      the

2          opportunity                   to    show me a case                             that        says,          oh,        by the

2          way,       that         applies            in          a criminal                    context.


                                                                                                                                                 53
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 55 of 103



                                  MR. BAUER: Sure.

                                  THE COURT:                   I just            have           never         seen          th~t

           case.

                                  MR. BAUER:                   Well,           this         is        a civil

           proceeding                so we haven't                       looked           for         that         case         for

           you,      but        we will.                But        the      only          limitations                     to

           lawsuits,              claims,              actions            is     when           the      general

           assembly             --    and         in    that        language                that         he pointed

           you      to     I think           answers               the      question.                    I pointed                    you

1          to      subsection               (a)        of Article                1 Section                   2 paragraph

1          9.       It     says       "the         general               assembly               may waive                 the

1          State         sovereign                immunity               from       suit         by enacting                     a

1          state         claims           act."             That         doesn't            say        the         State         only

1          has      sovereign              immunity                for      suits.               It      says,            we're

1          immune.              That's            what       subsection                    (e)        says         unless             the

1          general             assembly            does        something                  to     reduce             that.

1          And what             (a)       says         is    we're          giving              you      general

1          assembly             direction               that        one        of     the        things             you         are

1          authorized                to    limit            our     jurisdictional                           bar      on is            a

2          state         for      claims           act.             So,        general                assembly,                 you

2          don't         have        to    worry            about         this        sovereign                    immunity

2          being         a proper            tort           claims          against              the         State

2          because             we are        telling               you      in      the         constitution                     you

2          can      do that.               You can             say        immune            from         suit         by

2          enacting             a state            claims           act.            It      doesn't                say      these


                                                                                                                                            54
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 56 of 103




           are      the         only         things            that            we're         waiving              immunity

           from      or         we need             a waiver                   of     immunity               from.

                                     The only                 other            point         I want           to       make         is

           I think              you     sort          of       highlighted                     the        slippery                slope

           of      authorizing                    grand             jury's            to     subpoena              a sitting

           governor              during            his         term,            during            election              --        I'll

           let      Mr.         McEvoy            talk         about            that           --     to      discuss               the

           conduct              of     his        duties             in        office.               You've

           distinguished                      the         cases            I cited             for        you by saying

1          those          --     maybe            they're                 investigating                      DFACS and                   that

1          is      the         scope         of     their            authority.                      But      what           if     the

1          grand          jury         is     investigating                           the      mayor's             office,                not

1          beyond          the         historical                    realm            of     possibility                     in     this

1          city.           And what                 if        the      mayor           who in             past         times

1          might          have         been         in        regular               communication                      with         the

1          governor              as     one        would             expect            with          two      important

1          chief          executives                     in    the         same          state.              Does       that             give

1          every          grand         jury          that's               investigating                      a city              --

1          potential                 city         crime             the        ability               --      during           that

2          governor's                  term         --        to     say        you're            going           to    come             in

2          here          and     be     a witness                    in        our       investigation                    to        talk

2          about          your         performance                        of    your         duties           in       office.                  I

2          think          sovereign                 immunity                   says 1 you            can't         do that.

2          You have              to     find          another                  way,         State,           to    prove            your

2          case      without                 infringing                    on the            chief           executive's


                                                                                                                                                    55
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 57 of 103



           immunities                and     privileges                   and      separation                       of     power's

           protections                unless            we've            said      specifically                           you      can

           do it.            Now

                                  THE COURT:                     Of course,                   the        separation                    of

           powers          is     executive,                 legislative                      and        judicial.

                                  MR. BAUER:                     Correct.

                                  THE COURT:                     That's           the         third           one.

           Prosecution,                 governor,                 they're               all         in    the         same

           branch          so we're              not        separating                  a whole               lot         when

1          you're          pitting           a criminal                   investigation                         against

1          your          theory       that        sovereign                 immunity                  actually

1          includes             criminal               investigations.

1                                 MR. BAUER:                     No,      the      reason                is     the

1          separation                of powers               constitutional                           concerns.                    I

1           know that             Justice           Blackwell                   would          have           agreed             with

1          this.           Because           this           is    not       the         DA issuing                    a

1          subpoena             to    the        governor.

1                                 THE COURT: It's                         the      grand              jury.

1                                 MR. BAUER: It's                         the      grand              jury          in      this

2          court.            And that             raises            a problem                  that           Justice

2          Blackwell              has      written               about          that          I don't               even         know

2          if      the     courts           of    this           state          could          enjoin               the

2          governor             in    a claim               in    which           sovereign                   immunity

2          theoretically                    doesn't              apply.            So that's                    what         I

2          think          the     problem              is    here.              We appreciate                         the


                                                                                                                                            56
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 58 of 103



           Court's              time           and      attention                to     it.

                                      THE COURT:                    You're            welcome.

                                      What's            next,           Mr.      McEvoy?

                                      MR. MCEVOY:                       Your      Honor,            before                we turn

           our      attention                    to       executive              privilege,                   if         I could

           just         respond                to      one       issue          regarding              criminality                       of

           special              purpose                grand        jury.

                                      THE COURT:                    Okay.

                                      MR. MCEVOY:                       I think           an important

1          distinction                      that          you've           raised,            and      if          you      look         at

1          rule         6 of          the        federal            rules          of     criminal                  procedure

1          and what                  federal              criminal              grand         jury's               are

1          authorized                     to     do,       that's           return            indictments.                         And

1          in      our       view           that's           the        distinction                 between                 a

1          criminal              procedure                   and        civil         procedure.                         Even      in

1          the      federal                 context              you       impanel            a g~and               jury.               You

1          want         to      look           at      some        civil         FDA issue,                   that          grand

1          jury         still             has       the      power          to     return           an indictment

1          even         if      it        starts           off      as      a civil            inquiry.                     I liken

2          it      to     law         enforcement.                         Did     somebody             have              arrest

2          powers.                   If     they          have      arrest            powers,               it's          criminal

2          in      nature.                  If      you      don't          have        arrest          powers,                  it's

2          civil          in         nature.               And I think                  that        applies                here.

2          And if            you          look        at     Chief          Judge         Brasher's                      order          you

2          know the                  only        thing           that       they're            empowered                    to     do is


                                                                                                                                              57
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 59 of 103
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           make     recommendations.                                In      this        country           making          a

           recommendation                       about         a criminal                  matter          does         not

           empower          to     become           a criminal                     matter.

                                 THE COURT:                        Does      the        GBI ultimately                    make

           a recommendation                       to         the         attorney          general's               office

           about        whether            to     seek             an indictment                   of     a statewide

           gang     matter             that       they've                 been      doing?

                                 MR. MCEVOY:                        So,      that's          a little              bit

           different,               right.              I mean,              there         is      dual

1          jurisdiction.                        You know,                 now the          FBI has              dual

1          jurisdiction.                        The FBI can                  investigate                  something

1          criminally               but        make          a civil             recommendation.                         And we

1          see     that         false           claims             act      context          all        the      time.

1          It's     frightening                   for         somebody              like        me,       but      it        --

1          but     you      can't          have         it         the      other         way around.                    You

           can't          a civil          investigator                      have         arrest          powers             or

           indictment               powers          just            as      a special              purpose              grand

           jury     has         no power            to        bring          charges            against            anybody.

                                 THE COURT:                        Okay.           But my question                       was

2          the     fact         that       the      GBI can't                    indict         but       they          could

2          recommend             to       the     attorney                  general          that         he pursue                 an

2          indictment               following                 their          investigation                      doesn't

2          make     their           investigation                         non-criminal.

2                                MR. MCEVOY:                        But,         your      Honor,             that's          not

2          the     province               of     a law             enforcement               officer.                   The


                                                                                                                                         58
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 60 of 103



           province              of        a grand         jury         is     to      return              a true          bill

           or     not      return            a true           bill.            That          is      the         entire          --

           as      you     well            know,      that's            the         forum         of       the      grand

           jury.           Forum            of     a police             officer              or      detective,

           they're             not         empowered             to     bring          indictments.                        They

           are      --

                                     THE COURT:                  Understood.                  But          the      fact         that

           they         cannot         bring          an indictment                       doesn't               make       their

           investigation                     non-criminal.                          That's           all         I'm      getting

1          at.      And this                grand         jury        --      this        special                purpose

1          grand         jury         much         like       a GBI agent                    investigating

1          something,                 they         don't         have         the      power           to        indict,           but

1          they         have         the     power         to     gather             information                    and

1          ultimately                 make         recommendation                      to     the          District

1          Attorney.                  Hey,       based           on what             we've           got        here,        we

1          think         you         should         indict,             and         I think            --        I'm

1          analogizing                 here.              I want           you       to      distinguish                   it.

1          The way that                     a homicide                detective               might              say,      you

1          know what,                 we think             you        should           bring           this         case         or

2          FBI agents                 would         bring         to       an assistant                     U.S.

2          attorney.                  We think             you        should          bring            this         case.

2          That's          not        a civil             investigation                      until          it's

2          indicted.

2                                 MR. MCEVOY:                     Your         Honor,             that's            not

2          the      role         of    grand          jury,           historically,                        is      to     either


                                                                                                                                         59
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 61 of 103



           bring          criminal                charges         or     not.             This         is      a unique

           body.              They're          not        authorized                 to    bring              criminal

           charges.                  I understand                 that        it's          related              to       some

           potential                 criminal             case      that        may or may not                            be made

           down the              road,         but        they      don't            have        the          power        to

           bring          criminal                charges,          and       we're            just           trying           to

           make          distinction                between            criminal                and       civil.                If

           you have              the        ability          to     bring            criminal                 charges            it's

           a criminal                 matter.               If    you don't,                   it's           not.

1                                    THE COURT:                  Okay.

1                                 MR. MCEVOY:                     Your        Honor,             I was           going           to

1          address             the         executive             privilege                issue.               You know,

1          some          of    the         other      issues           that          we're            going          to

1          discuss             are         kind      of     interwoven                between                 one      another,

1          and      I just             wanted         to     provide            a little                 bit         of

1          context,              you        know,         historically                    as     to      why we're

1          here          and    how we're                 here.          And,         you        know,           one       thing

1          Mr.      Wakeford                said      is     that        Governor                Kemp was                 asked

1          in      the        same         way to         be here          as        secretary                 of      state

2          and      attorney                general.              I think             that's             not         really

2          true,          and     we sort             of     walked           through                 that.            But       it's

2          important                 to     note      by way of background                                    that        your

2          Honor          has        it,     Governor             Kemp is             just            a witness                in       a

2          matter.              Governor              Kemp is            someone               that's            ardently

2          defended             the         rule      of     law.        He took               appropriate                     steps


                                                                                                                                            60
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 62 of 103



           to    protect             the        integrity                  of     Georgia's                  election

           process.              He certified                        the        presidential                      election

           November             20,        2020,            just      as        the        constitution                   and

           state        law provide.                         He's          now been                 identified             as     a

           witness          in        this           investigation.                         And the               most

           important             point,               your         Honor,             he has           been        willing            to

           engage         in      this          investigation                         since           April        of     2021,

           despite          the        fact           that         we have              the        belief          as     Mr.

           Bauer        explained                    that      the         Court           and        district

1          attorney's                 office            and        special              purpose              grand        jury

1          lacked         the         jurisdiction                    to        bring            him in.             We've

1          been        engaging              voluntarily.                         Now we're                  in    the     middle

1          of       an election                 cycle          for         really             the      most        closely

1          followed             gubernatorial                        race         in       the        country.             There

1          may be one                 or     two        others             that         are         close,         but     this

1          is       certainly              up there.                  This            is      happening,

1          coincidentally                       or      otherwise,                    as      this       high        profile

1          and       politically                     charged          investigation                          of    Governor

1          Kemp's         role         in       it      are        reaching                a crescendo.                    The

2          intersection                    of        law      and     politics                   in    this        way we

2          believe          shouldn't                   be happening                       on the            eve     of    an

2          election.                 And despite                     our        willingness                   to     engage

2          we're        just          asking            that         the        rule          of      law     be closely

2          followed             in     this           matter.               And we're                  going         to    talk        a

2          little         bit         about,            you        know,          the       political                impact


                                                                                                                                           61
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 63 of 103



           that       this          is          all        having             later,           but        just        to        observe

           while           we're           talking                   about         the        special             purpose              grand

           jury       that          it's              impaneled                until           May of              2023.           And

           the      District                Attorney's                        Office            has       publicly               stated

           repeatedly                 that              it      is     in      no rush               to     complete               this

           investigation.                               It's          likely             to     last         through             the        end

           of      this       year.

                                    THE COURT:                         So that                 I can        put       what         you

           want       to      share               in         context,              because             the        politics                 of

1          this       aren't               my domain.                         You're            sharing             this         because

1          it      goes       to      the             oppressive                   nature            of      the      subpoena                  if

1          I find           that           it         is       not     to      be quashed                   because              of

1          sovereign                immunity,                        no jurisdiction                         or      executive

1          privilege.                      I will               have          to     hear        that          argument

1          because            I want                  to      make       sure            there's             a point.                  You

1          have       aired           very              publicly               through               your         pleadings,

1          and      the       District                     Attorney                has        provided              her

1          prospective                     in         pleadings                about            some of             the         back        and

1          forth           and      tit           for          tat     and         the        politics.                   That's            not

2          my space.                  So I don't                       want          to       open        this        proceeding

2          up to           here's               how we think                       the        race        is       going         for        the

2          governor,                and          we think                it        has        this        political                spin

2          or      that.            I don't                    think          this        is     the         right          forum           for

2          that,           and      you may not                        have          been        going             there.              I

2          want       to      make              sure           there's             a good            purpose              for      you          to


                                                                                                                                                     62
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 64 of 103



           explore             what          you want           to       explore             since       the        slide            in

           front          of       everyone            says        "political                 impact           of       the

           subpoena."

                                    MR. MCEVOY:                    I'm      sorry.              I will            get         to

           that,          your          Honor.          And we're                 asking         for        a quashal

           and modification.                            Quashal             and/or            modification                     on

           several             basis.               One is         executive              privilege.                     The

           other          is       attorney/client                       privilege,              and        the         other

           is      the        improper              purpose          of     the       subpoena,                which           is

1          sort          of    what          this      overview             is     meant         to      sort           of     tee

1          up.       And later                  in     the      presentation                    we'll          be       showing

1          your          Honor          as    your       Honor           has      seen        what       the        relevant

1          policy             statements               are      around            conducting                an

1          investigation                      like       this        during           an election                   cycle.

1          So our             position,              your       Honor,            may disagree.                         Our

1          position                is    within          your        Honor's             province              to       take

1          some          action          if     your         Honor         sees       fit.           Listen,             I

1          don't          want          to    repeat          everything                 we've          said        in        our

1          brief,             and       I do want             to     be very             respectful                 of        the

2          Court's             time,          but      given         the       importance                of       this

2          matter             to    Governor             Kemp,           I do want              to     be      thorough.

2                                   THE COURT:                  We'll          strike           the      right

2          balance.

2                                   MR. MCEVOY: I'm                        working            on it.              The one

2          thing          that          is    a little             bit      unusual,             and        there             are     a


                                                                                                                                          63
Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 65 of 103



       lot       of         things            that         have          been        unusual             in     how this

       has       been             handled.                  Just         in my experience,                           it's             our

       effort               to     engage             for      whatever                reason,            you        know,

       this           interview                 that          was        suppose            to    happen             by

       September                   of     2021,             didn't          happen.               It      didn't             happen

       in       the         beginning                 of      2022.             It     matriculates                     into           the

       spring               pass        the      primary.                   At that              point          we asked

       that           it        be pushed              and         the      district              attorney's

       response                   was     that         it's          unable            to    agree            to     push             the

       date           of        a future              voluntary                 interview                pass        the          date

       of       the         general             election.                   That's           curious               to       us.

       I'm       not            sure      why that                 is,      and        I'm       sure         that          the

       district                   attorney             will          talk         abou~          that.             But        in

       that           time         frame         it         only         serves         to       increase               the           risk

       of       an unfavorable                         political                  impact          which            we'll              get

       to.            And so,             you         know,          I just            say       that         as     to       kind

       of       tee         up the            discussion                  around            executive                privilege

       which               is     one     of     the          things            that        we have             been          trying

       to       discuss                with      the          district               attorney's                 office                as

       this           court            hasn't          encouraged                    with        other          witnesses

       since           April            of      '21.

                                   So,        I want           to        talk        about        the         application

       executive                   privilege                  generally,                and       then          also

       specifically                       to     this          case.             And the            latter              is        a

       little               bit        more      complicated                     because            we learned


                                                                                                                                             64
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 66 of 103



           about         what      they           wanted            to    talk          about         for         the      first

           time      on Tuesday                    evening.               But          I want         to     address               the

           application                 of     it        generally,                and         I think,             your

           Honor,          in     our       papers            we made             it     pretty             clear          that

           courts          in     other            states           have        applied              executive

           privilege              to     governor's.

                                  THE COURT: And so just                                      as     a starting

           point          you     acknowledge                   that          there           is     no codified

           either          in     statute               or    case         law         executive             privilege

1          in     Georgia.               You're              seeking            to      import            that          concept

1          to     this         situation?

1                                 MR. MCEVOY: That's                              right.              In     the         State's

1          response               --     I mean,              this        was a little                      bit         unusual

1          for      me that            the         State        said          more       notably             having              the

1          remaining              49 states                  rush        to     bestow             such      privilege

1          the      executive                --     upon        their           respective                  governor's.

1          By way of              example,               see        State,              ex.        Rel      v Dunn,

1          which          is    an Ohio             case.            And then                 they        have          this

1          quote.              And so,             we looked               at     that         case         and         low and

2          behold          they        cited            a dissenting                    opinion.                  So,      the

2          only      case         that        they           cited         that         says         executive

2          privilege              does        not        apply           to     a governor.                       Actually,

2          says      it        applies             to    that        governor.

2                                 THE COURT:                    In Ohio?

2                                 MR. MCEVOY: In Ohio.                                   And that                 case         says


                                                                                                                                         65
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 67 of 103



           the     governor                has         an executive                  communication

           privilege                that     applies                 to     communications                      to    or     from

           the     governor                when          communications                     were         made        for     the

           purpose             of    fostering                  informed             and         sound

           gubernatorial                    deliberations,                         policy          making            and

           decision             making.                  The State                then      goes         onto        say

           the     DA's         Office                then      goes        onto         say,       special

           prosecutor                goes             onto      say,        movant          cites         only        two

           cases         to     support                the      claim         that         several          states           have

1          found         the        existence                 of     this         executive              communication

1          privilege.                     I thought                 that      the        pleading           being          121

1          pages         was probably                        long         enough,          but      you     know,          for

1          your         Honor        and     the             district             attorney's              review           we've

1          got     10 other                cases             that         I was      going          to    make

1          reference                to.      And rather                     than,          you      know,        repeating

1          the     cites            out,         if      I could            approach              and     provide

1          these         to     your        Honor,              and        I've      also         included            a copy·

1          of     the      attached                   decision.

1                                   THE COURT:                      Before          you     go further                with

2          executive                privilege,                  I may have                 misunderstood                   in

2          your         original            brief.                  Are     you      arguing             that

2          executive                privilege                 precludes              all         testimony            or     it

2          like         attorney/client                         privilege,                 legislative

2          privilege                would             cabin         the     governor's               testimony

2          should          he testify                    in     certain            ways.            Because           if     it's


                                                                                                                                    66
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 68 of 103



           the     latter,            I don't                      you do need                to       articulate

           why you           think           there          is     such     a thing               in      Georgia.

           But     beyond            that,           I think          we would           1
                                                                                             need         to     work

           through           after           we conclude                  today        that         threshold

           question           of      is      the          subpoena         quashed               or      not.            If

           it's      not,         then        I think              the     governor               falls          into          the

           same     broad            category               as many other                    witnesses                who

           have      come before                     the      special           purpose             grand            jury

           where        you       and        your          colleagues,             the        district

1          attorney's                representatives                       and     I would                sit        down and

1          say,      here's           a safe               area,         an allowable                  area          or     not.

1          I don't           think           we'll          do that         here         and        now.

1                                 MR. MCEVOY:                      Well,        that         is     a great

1          suggestion                and      one          we have         been        trying             to

1          facilitate                for      18 months.                   I'm     happy            to       go through

1          a couple           of      analogous                  cases      that         have          similar

1          findings,              and        the      cites         are     all        in     front             of    your

1          Honor.            In      the      state           of    Washington                in       the       Freedom

1          Foundation                case,           the      Court        held        that         the         executive

2          communication                     privilege              applies            to     communications,

2          authored,              solicited                 or     received            by the             governor              or

2          aids      for      purposes                of      fostering            informed                  and      sound

2          gubernatorial                     deliberations,                     policy            making             and

2          decision           making.                 In New Jersey                    in     the         Nero        case

2          the     governor                has     privilege               to     protect


                                                                                                                                     67
Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 69 of 103



       confidentiality                           communications                          pertaining                   to      the

       executive                   function.                 In     California                    in         the

                                   THE COURT:                  I see              they're              all         listed

       here.

                                  MR. MCEVOY:                      They           all         apply          to      the

       governor,                   your         Honor.             So,       you         know,          just          --      I

       understand                      your      Honor's            point,               this          is      not         a case

       directly                  on point             in     Georgia               saying              the         executive

       privilege                   applies            to     the        governor                 in     the          same         way

       that         it          applies          to    the        president.                      But          the         attorney

       general's                  position             is      that          it         does.           It's

       consistent                      with      10 other               states               who have                found          the

       same         thing.                And there                is    not            a single               case         that

       we've         been              able      to    find         or       that's             been           identified

       by the              District              Attorney               that            says      it         does          not.           In

       other             words,           no other             state              has         come out               and      said

       the     executive                      privilege             does           not         apply           to     the

       governor.                       I don't         know what                   else          really              to     say

       about             the      potential                theoretical                        general              application

       of     the          executive              privilege                  to         the     governor.                     I

       think             it's          pretty         clear.             But            to     your          Honor's              point

       I'm     happy               to     kind        of move onto                       the      specifics.

                                   THE COURT:                  Okay.

                                  MR. MCEVOY:                     And Judge,                     this          does         require

       a little                  bit      of     context,               if        you will              indulge.


                                                                                                                                               68
     Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 70 of 103



                                    You know,                one         of      the       things          that           since             we

            first       engaged                with         the        district             attorney's                    office

            in      April       of      2021,          when we were                        dealing           with            the

            initial           prosecutor                    Sonya         Allen.                We spoke               with            her

            in      April       of       '21,         and         they         indicated             they            may want

            to      speak       with           the      governor.                      We asked            if        we could

            come in            and      discuss              areas             of      inquiry.                 They         didn't

            respond            to      that.            I wrote                an e-mail             to         the       District

            Attorney            on June               16th,            made         the     same          request.                     I

1           said       it     may facilitate                            the      process            if     we could                    have

1           a conversation                      about             the         areas        of     inquiry.                   That

1           never           happened.                 And as             your          Honor        is     well           aware,                 I

1           think           there       are          five         or     six        other        requests                 where              we

i1          have       asked           to      come in             and         sort        of    give           a proffer                    of

1           testimony               so that             we can                facilitate                 these

1           complicated                 evidentiary                      issues            despite              our       belief

1           that       we have              no obligation                        to       do so.           And so,                 I

1           thought            that,           you      know,            this          issue        of      an attorney

1           proffer            has      become              kind         of      a controversial                          issue              in

2           this       case.            And I think                      your          Honor        has         a

2           understanding                      of     what         an attorney                   proffer               is,         but           I

2           just       wanted           to      go over                my understanding                             and      what

2           we'd       hoped           to      accomplish.                       Because            in my

2           experience,                 both          as     a federal                  prosecutor                    and     a

2           defense            attorney,                an attorney                     proffer             is        one     of           the


                                                                                                                                                     69
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 71 of 103



           most         commonly           used         tools      in      any      significant

           investigation.                        The purpose               is     to     afford             --

                                  THE COURT:                So it          is     frequently                 used,            but

           it     takes         two.            And if      the        district             attorney's

           office         isn't          interested               in    doing          that,           and        they

           think         that's          the      way to         move       forward             is      a subpoena,

           we got         to      where          we are.            So I'm          going         to        ask         you       to

           focus         on the          subpoena,              why it           applies,              why it

           doesn't.               If     it      does      apply,          how you think                     it         ought

1          to     be.

1                                 MR. MCEVOY:                   I appreciate                   that,         your

1          Honor.              But     your       Honor         did     ask       why we're                 here         and

1          how we got                 here.        We did           agree         --     the      district

1          attorney's                 office       did      agree          in     writing              to    allow            us

1          to     conduct             an attorney               proffer.

1                                 THE COURT:                And then              that         didn't             get        to

1          happen.

1                                 MR. MCEVOY:                   And then            everything                    changed.

1          On June             13th      it's      unilaterally                   revoked.                  We.had            a

2          date.          They         asked       for      dates          for      attorney                proffer.                I

2          gave         them      dates.           June         24th       to     June         27th.         This            was

2          anticipation                  of      a voluntary               interview              July            25th.

2          And on June                 13th       we get          the      rug      pulled             out        from

2          under         us.          There       will      be no attorney                      proffer.

2          Actually,              we've          given      August          dates,             and      then            on


                                                                                                                                        70
Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 72 of 103
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       June         13th      the        special            prosecutor                          said         those          dates

       are     no good.                  You're            not        doing              an attorney                      proffer.

       Governor's                 got      to     come           in     sooner.                   And,             you      know,

       if     you     don't             give      me new dates-within                                        48 hours

       we're         going          to     issue           a grand                  jury         subpoena.                      This

       is     the     first             I've      ever           heard              of     a grand                 jury

       subpoena             because              we've       been              operating                     in     good           faith

       for     over         a year.               And I noted                        the         change             in      tone

       and     said         there          is     no reason                    to        threaten                  a grand

       jury         subpoena.              I got           the        it's           not         a threat,                  it's           a

       promise.               And I think                   the         last             time          I heard              that

       line         I was         riding          around              in       a big             wheel.               But          we

       understood                 the      position               had          changed.                      So,     we

       provided             those          dates           within              48 hours,                     but      the          hope

       was that             we could              still           facilitate                       some

       conversation                     about        the         subject                 matter              that         would          be

       discussed              with         the       sitting                 governor                  who is             agreeing

       to     voluntarily                  come in.                   Okay.                It      didn't            happen.

       And so,             you      know,         what           is     interesting                          is     what           has

       happened             since.               You know,                   it's          somewhat                         you

       know --             even      when         your       Honor                  was     conducting                      a

       hearing             on June             22nd        regarding                     some          similar              issues,

       and     you         know,         Ms.      Pearson               asked              at      a minimum                    you

       asked         the      State            and    DA's            Office               to     provide                 buckets

       to     us before              the        people            are         brought                  in.          Your           Honor


                                                                                                                                               71
Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 73 of 103



       said      that's              a fair              request             and         sort          of    worked

       through              it,      and         that's             what       we have             been             trying              to

       do.       And,             you      know,           whether             one        is      an experienced

       prosecutor                   or     leading              an investigation                             like          this

       for      the         first          time,           I'm        just         troubled                 by the             fact

       that      we weren't                      treated              like         --and          we were                not

       given          the         ability           to         discuss             these          important

       evidentiary                   issues.                   And you             know call                 me a wordy

       word,       but            I don't           think             I would             be doing                  any        client

       a service,                   let        alone           the      sitting             governor,                    if        I

       were       to        walk          that      client              into        a meeting                  unprepared,

       not      knowing              the         first          thing          what's             going             to     be

       talked          about.                  And all              we were              told          is    well,            we

       want       to        talk          to     him about                 some          conversation                      between

       the      secretary                  of     state              and     the      president                     that           he

       wasn't          on,          and        what        he        knows         about          it        and      what              he

       doesn't              know about                   it.          Well,         we have                 now learned

       for      the         first          time          in     a public                 filing             on Tuesday

       night          that          the        areas           of     inquiry             are      much more

       detailed               and much more                          significant.                       And so,               you

       know,          talk          about         the          politics             of      all         this         and

       political                  impact          regardless                   of        whether             it's

       politically                   motivated                  or      not        the      ABA and                 DOJ policy

       focus          on political                       impact.               This         clearly                 has        a

       political                  impact.                It     has        a political                      impact            when           a


                                                                                                                                                 72
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 74 of 103



           public          filing            for        the      first             time      you      list        all        these

           areas      of        inquiry.                  And so             I don't           know what                purpose

           that      serves.                 In     other            words,           I'm      trying            to     figure

           out      why we were                    not        able       to        have      that         conversation

           with      the        district                attorney's                  office          that         we've         been

           requesting                 for        over         a year.               And as          your         Honor         is

           aware      the        tone            changed             things.                You know,             became

           for      some        reason             adversarial.                       And all             that        we were

           asking          in    advance                 of     what         ultimately               became            July

1          25th,      voluntary                    interview,                 were          just      standard

1          prophylactic                  measures                that         any         prudent            attorney

1          would      take            before            bringing              someone              into

1          investigation.                          Particularly                     if,      as     the       district

           attorney's                 office             says,        it's          a criminal

           investigation.                          I take            those          things          seriously,

           Judge.           And so to                    your        Honor's              question,              the        answer

           is     I don't             know.             You know,                  there       is     a lot            of

           information                 here         on this              page.              They're           talking

           about      phone            calls            between              people          that         we were            never

           involved             in.          They         go through                  this         detailed,                you

           know,       litany               of     information                     that's          never         been

           discussed             with            me,      and        therefore,                I've          never          had

           the      opportunity                    to     discuss             it      with         my client.                  And

           they      end        by saying                 "the        District               Attorney             submits

           that      the        above            clearly             relevant               information                 is     just


                                                                                                                                      73
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 75 of 103



           the      start         of        what      may be           revealed               through               the

           movant's              grand         jury        witness             testimony."                      So there's

           a lot         there          to     unpack,            and       we would               just         renew             our

           request           that           we be given                the       opportunity                    to        discuss

           that      with         the         district              attorney's                office            as        your

           Honor         has      suggested                in       other        cases.              And by the

           way,       I think                I have        probably              been         involved                in more

           than      a hundred                 attorney              proffers               as     a prosecutor

           and      defense             attorney.                   I have         never           had         the

1          experience                  of     a prosecutor                    telling            me that              she

1          wouldn't              let        me come in               and       hear         what         I had             to     say.

1          And as           a prosecutor                   I've        never           told        someone                 you

1          can't         come          in     and     proffer            evidence.                   Because                I know

1          how helpful                  it     is     to      the      process.                  And I'm              also         not

1          familiar              --     I have           practiced               all        over         the         country,

           and      I have             never        had       any      state           or     federal

           prosecuting                  agency           tell        me that             there         was a policy

1          against           an attorney                   proffer.                So we have                   been

1          trying           to    come in             voluntarily,                      facilitate                   the

2          dialogue              to     discuss            executive               privilege,

2          attorney/client                         privilege,                 those         types         of         things.

2          They      have         rejected               at     every          turn.             And then                  for         the

2          first         time          they        do what           we were             asking           to         do,         but

2          they      do it             in     a public              filing.              So,       I'm         at     a little

2          bit      of      a disadvantage                      to     talk        about           the         specific


                                                                                                                                             74
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 76 of 103



           application                  of     the      executive               privilege                  without

           knowing           as     your           Honor       has       said         what        the        questions

           might       be how they're                        asked,           what        the         subject          matter

           is.      We've           got        to     be     given        that         opportunity                    to     do

           that,       and         certainly               would         not         allow        any        client          to

           go into           the        grand         jury         separated             by counsel                   and

           have      to      parse           through,              you    know,           these            very

           complicated                  privileges,                 whether             it's

           attorney/client                        ·privilege             or     otherwise.                     So,     you

1          know,       what         we have             proposed               repeatedly                  and      will

1          propose           again--               I don't           know if            it's          within          your

1          Honor's           power           to      do it         now,       but       it's          very         simple,

1          Judge.            And as Mr.                 Bauer         said           we're        a little

1          frustrated,                  too.          If     the      district                 attorney's              office

1          agrees           to     address            these         outstanding                   evidentiary

           privilege               issues            an attorney                proffer               in     advance          of

           a voluntary                  interview              that       takes          place             after

1          November              8th,        all      of     these        issues               will        be resolved.

1          As Mr.           Bauer         said,         we can't              waive            sovereign

2          immunity,              but        we'll         do what            we've            said        from       day     one

2          and     come in              voluntarily,                  and       that's            all        we have

2          been      trying             to     do,      Judge.            I think               that         executive

2          privilege              pretty             clearly          applies             if      we're            talking

2          about       it        generally.                  Whether            it     applies

2          specifically                  on subject                 matter            they        want        to      ask     him


                                                                                                                                    75
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 77 of 103



           about,        the         answer             is,       I don't              know,           it      depends.                     We

           have       been         able          to     identify                certain               things           where               we

           don't       think             it      applies.                Happy              to     talk        to      him           about

           it.        We just                 haven't          had        that         conversation.

                                   THE COURT:                     When you                  say       come in               for        a

           voluntary                interview,                 and         from        some of               the       exchanges

           that       I've         had         with       you       and         the         district               attorney's

           office           always             present            together,                  there           's       the           notion·

           of      an interview                   as      in      before              the        grand         jury             because

1          -
           they're            the        body         that        will          be     issuin~               this

1          recommendation                        and      so they               might            have        questions

1          that       the         prosecutor                  didn't            think            of     versus              a

1          voluntary                interview                 solely            with         the        district

1          attorney's                office?                  So,       it's          a voluntary                     interview

1          before           whom?              Assuming             these             other           attorney                  proffer

1I         happens,               you work              through                concerns               about         privilege,

1          all      three           of        them,       etc.,            that's            a voluntary

1          interview                in        front       of      the          grand          jury?            It's             a

1          voluntary                appearance,                   in       other            words?

2                                   MR. MCEVOY:                     It's         exactly                what          we had

2          agreed           to.          A voluntary                    interview                  with        the          district

2          attorney's                office.                  That's            what         was        scheduled                    and

2          what       became             publicized                 on July                 25th        in     advance                 of

2          that       after          the         attorney              proffer               was        canceled                    by the

2          district               attorney's                  office.                 In      last          ditch           efforts


                                                                                                                                                 76
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 78 of 103



           in     discussing               these           issues           in    advance                we sent              an

           e-mail          on July          20th           that,         you      know,            everybody's

           seen,        where        we asked                to     discuss             the        topics             in

           advance                   some          questions                in    advance                to      deal        with

           these        issues.              In      response               to    that         July           20th         e-mail

           the      interview              was canceled,                      grand           jury         subpoena                was

           issued.            Here         we are.

                                   THE COURT:                   So the           conversations                        that         you
                                                                                                     I

           and Mr.           Wade and              others           and       I had           about           finding              a

1          date      that          works       not         just       with        the         governor's

1          schedule           but      yours,              I thought              that         was         for        an

1          appearance               before           the        grand         jury         and       not         --     I don't

1          need      to      get     in      the      middle             of                I ought               not       to      be

1          asked        to    get      in      the     middle               of    setting                up an

1          interview.                I was brought                       in      because             there            were

1          concerns           about         the       reasonableness                          of     the         district

1          attorney's               office's               insistence                 on a particular                           date

1          for      an appearance                   before            the        grand         jury           which          we

1          can      call      interview.                     I don't             really            care          what         label

2          you put           on it,         but       it's          structurally                     different                  as,

2          you      know,          appearing               in      front         of     the        grand           jury

2          versus          sitting          down with                 representatives                            of     the

2          DA's      Office.               So,       I don't             want         to    misunderstand

2          what      you're          describing.                      Not        that         I get           to      enforce

2          any     of      this      other          than           I'm     being           asked           to      enforce


                                                                                                                                         77
Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 79 of 103



       or     quash           the        subpoena.               But      what       you     can     negotiate

       with        the        DA's        Office         that's           your       powers         of

       persuasion                   and    what       not.          So,        that's        where          I'm

       confused.

                               MR. MCEVOY:                   Well,         your         Honor,           I'm     just

       trying            to    tell         you what             happened.               We had           an

       agreement               for        a voluntary                interview.                  We had          an

       agreement               to        conduct          a proffer              session           on either

       June        24th        or        June      27th.           That        agreement            was

       unilaterally                      terminated              on June            13th.          We were            told

       to     give        dates           sooner          than      August           for     voluntary

       interview               or        a grand          jury       subpoena              would      be issued.

       We did            do that            with      the        hopes         of    continuing                to     have

       a dialogue                   of    previewing               some        of    these         topics           in

       advance            to        facilitate              conversation                   and     not      having

       to     come before                   your      Honor,             which       we would             have

       certainly               have         to     have      done         multiple,              multiple,

       multiple               times.              And then           in    an effort               when        I made

       those         requests               in     advance           of    a voluntary                   interview

       on July            25th,           that      offer          for     voluntary               interview

       was revoked.                       We were           issued         a grand           jury         subpoena

       on July            29th.             It     was      at     a time           when     I was planning

       to     be     in       the        middle       of     the         Grand       Canyon         going           down

       the      Colorado                 River.          And your              Honor        and     the

       district               attorney's              office             was     kind       of     enough           to


                                                                                                                             78
     Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 80 of 103



            push      it        back      one         week.        It     was during                 that          period

            of     time         we were           trying          to     assess           what       our       options

            were      put        into          this      box      where          we then            had       to    invoke

            sovereign             immunity               because           we still               were        not      given

            any      clarity            about          what       would          be discussed.                      And it

            wouldn't             be proper               for      any         lawyer         to     take       their

            client          in    let          alone       the     sitting              governor              of    the

            state          of    Georgia              under       those          circumstances.                        And

            this      has        all      been         sort       of     highlighted                    and    very         well

 1          reported             in     the       media,          and         that      will        get       to    the

 1          discussion                 that       we have          later             about        the      political

 1          impact.              But      it             we did          not         want      to    be here.

 1                                THE COURT:                     So I'm          clear,           voluntary

 1          interview             is      different               from         grand         jury         appearance?

 1                                MR. MCEVOY:                     Right.

 1                                THE COURT:                     Okay.           All      right.              Thanks.

 1          I guess             I will          hear       from         the      district               attorney's

 1          office.              I guess              we're       talking              about        executive

 1          privilege.                  If      you      feel      compelled                 to     engage          on the

2           back      and        forth          with       the     e-mails              and       invitations,                 do

,2          so.       Very,            very       briefly,              I'm      more        interested                at

2           this      juncture                 hearing           about         executive             privilege               if

2           that's          something                 you want           to      respond            to.

2                                 MR. WADE Very                    briefly,               Judge.

2                                 THE COURT:                    Always           makes         me nervous.                   Not


                                                                                                                                    79
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 81 of 103



           just          from        you.

                                  MR. WADE:                      It      just         has        become               abundantly

           clear          to    the         State           that         Mr.        McEvoy               is     going          to

           respond             in·a         manner           that            he gets                across            a message

           that's          not         even          relevant.                    The Court                   has

           insistently,                     consistently                      stated                to    Mr.         McEvoy          and

           our      side        that          the       Court            is       not         interested                 in

           hearing             certain               aspects             of       even         the        pleadings.                      Mr.

           McEvoy          has         ignored              that         as       he has             done        through              this

1          process.                  He has           ignored                our        communication.                          He's

1          ignored             clear          communication                         to        him because                 he wants

1          to      drive         the        way that               the        State            is        proceeding                  with

1          its      investigation.                           Mr.         McEvoy               clearly            is      not         in

1          favor          of    the         State           electing                to        not        move         forward

1          with          an interview                   outside               of        the         grand        jury         process

1          or      the     special              purpose                grand            jury         room.             The State

1          has      elected             to      do that.                     That        is      not          Mr.      McEvoy's

1          call.           That         rests           solely            with           the         District             Attorney

1          and      the        District               Attorney                has        made            that         decision

2          through             the      power           of       the         special             purpose               grand

2          jury.           Mr.        McEvoy            starts               to     talk         about           an e-mail

2          exchange             between               the        two         sides,            which            the      Court            has

2          clearly             stated           it      does           not        have         an interest                     in,        and

2          we would             not         go there.                    However,                Mr.          McEvoy made

2          specific             reference                   to     his        e-mail,                and        I'd      like         to


                                                                                                                                                80
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 82 of 103



           address               that         briefly                 here.                   In Mr.          McEvoy's                    e-mail

           he      outlines                  requirements.                               He said              these                are         the

           requirements                       for         our             client              to     come and                 sit         and

           speak              with      you.              One of                 the          requirements                         is     we're

           to      get         in      advance                 --well,                  in     advance             each             and         every

           question                  that's              to     be asked.                          Well,          that's                 his

           call.               And that's                      not         the          State's              position.                         The

           State's               position                 was             that          his         client         would                 come         in

           and      speak              in     front             of         the          special              purpose                grand

1          jury          just          as     a host                 of      30 plus                 other         witnesses                         have

1          done.               That's              all.           At that                     juncture,                 Judge,                 during

1          the      course              of         the         interview,                      what          really                broke             down

1          the      conversation                          was within                          the      e-mail.                     Mr.         McEvoy

1          says          that          the         only         way that                      that         interview                     would

1          take          place,              the         only         way that                      a voluntary                     interview

1          would              take      place             is         if      we didn't                     record             it.              Well,

1          our      intent              was         to         record              it         so that             the         special

1          purpose               grand             jury         could              see         and         hear         for

1          themselves                   what             the         testimony                     was.           Accurately.

2          Well,              that's          an issue.                          We can't                  record             it         to     show

2          the      special                 purpose                  grand              jury         ac6urately                     what             is

2          reflected                   during             the             course              of     the      questioning,

2          then          it      becomes                 too      much             of         a control                 issue.                  Mr.

2          McEvoy was                   attempting                         to      control                 our     efforts                     to

2          ascertain                   the         information                          that         we were             seeking.


                                                                                                                                                            81
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 83 of 103



           Now,         I did      say        briefly,                that's           brief.                  However,                     I

           will         allow      Mr.        Wakeford                to    come up and                        address                 the

           other         issue         for        the      Court.

                                  THE COURT:                     Thank          you         for         sharing              that.

                                  Mr.        Wakeford?

                                  MR. WAKEFORD: Your                                  Honor,              each         witness

           who has           come before                   the        special               purpose              grand            jury

           and      raised         an issue                of        privilege,                   if      the         parties,

           meaning           members               of     the        district               attorney's                   office

1          and      counsel            for         that         witness           cannot                come to              an

1          agreement              about            the     application                      of         that      privilege,

1          it      is    elevated             to         your        Honor        and        decided                  based                on

1          the      specifics                of     the         situation               at        hand.               That            is

1          still         available.                     And if          the       governor                    appears             to

1          testify,             that         process             will         still          be         in     place.

1                                 THE COURT: True.                              What         about              the

1          threshold              argument                that        executive                   privilege,                     if

1          applied           in    Georgia,                would           bar        all         testimony                  because

1          the      inquiries                are         about        what        the        governor                  did            in

2          the      exercise            of        his      office?

2                                 MR. WAKEFORD:                         I have              --         I'm      not      sure               if

2           I understand                their             argument               to    be         that          all      inquiry

2          whatsoever              into            anything             the       governor                    did      is        barred

2          by a claim              of        executive                privilege.                        I believe                     it

2          would         be the         process                 of    deliberation                        before             a


                                                                                                                                                 82
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 84 of 103



           decision                     is         reached.                 Anyway,              any        arguments                 about

           executive                     privilege                    don't         go to             factual

           determinations                                 which           privilege               doesn't                  touch.

           Whether                 something                       happened,             whether               something                    was

           said         is         not             reached            by privilege.                          And so the                     total

           quashal,                     the          absolute               quashal              of     a subpoena                    which

           they're                 seeking                    is     just     not        appropriate.                             This       is

           again          something                           we could            talk           about         again              on a

           question                     by question                       basis       if         your         Honor             is

1          participating                                 in    the        process.

1                                        THE COURT:                         So if          it     applies                  you'd

1          analogize                         it      to       legislative                privilege                   which·

1          precluded                         some area                of     questioning                      for          certain

1          witnesses                     but             allow        others.               And you'd                      work       through

1          that         either                     as     you've            described                 it,      the          lawyers

1          sorted             it         out             or    as     group         we sorted                  it          out?

1                                        MR. WAKEFORD: That                                      is     just          a reflection

1          of     the         sovereign                        immunity             argument.                       It's          just       the

1          same.              It's                 the        same        argument               where         I don't                know

2          whether                 it             was     in       jest      or     not,          but         the          governor            is

2          the      King.                         The governor                 is     the         State             and body,                and

2          therefore,                             this        court         has     no authority                           to     tell       the

2          governor                     to         do anything.                     That's              the         same          thing

2          with         the             executive                   privilege                   argument,                  and       that      is

2          not      the            case.                  There's            no recognized                          gubernatorial


                                                                                                                                                    83
Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 85 of 103



       privilege             in         Georgia,            first          of     all.           And second,                    it

       would       have           to     be tailored                  to    actual              questions              which

       are      being        asked.

                             THE COURT:                     Okay.           Thank          you.

                             Mr.         McEvoy,            you're          back          up.         Not much of

       a rest         for         you.

                             MR. MCEVOY: No.                              And I'll             be brief,               your

       Honor.           I know that                   your          Honor         does          not      seem        to     be

       too      receptive                to    this         argument,               but         I would             like

       just      to     be able               to    brief           it.

                             THE COURT:                     I'm       open        minded.                Expand            my

       horizons.

                             MR. MCEVOY: I will                             say          on executive

       privilege             it         applies          to     document                 and     other

       materials             that          reflect            presidential                      decision

       making,          and        it      applies             pre-deliberative                          and post

       decisional             material                as       well.             So our          view          it    is

       pretty         broad.               I agree             with        the      DA's         Office.               We

       may be able                 to      carve         some         things             out     that      he could

       talk      about            is     what       we've           been         trying          to      do.         I'm

       happy       to       do it         under          the        right         circumstances.                           The

       problem          and        final           ground           that        we believe                is

       appropriate                 for        quashal           is        because          of      the

       significant                 political                impact          that          this

       investigation                     has       had      on Governor                   Kemp.           The timing


                                                                                                                                     84
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 86 of 103



           of     the     investigation,                         it's       political                  impact         have

           reached          a point               we believe                where          it     has      been

           violative                 of    existing              DOJ,       ABA, the              National

           Prosecution                    Standards.                    And they           all        direct           that

           any     political                    impact         should           be    avoided.                 Quote.

           "Such         investigative                        action         that       could           impact          the

           outcome             of      an election                   is    greatly              diminished              once

           voting          has         concluded."                      The ABA's               criminal            justice

           standards                 provide             similar           guidance.                   These

1          standards                 which         are        quote        "intended              as     a guide              to

1          conduct             for        a prosecutor                    actively              engaged          in     a

1          criminal              investigation                       or    performing                  a legally

1          mandated              investigative                       responsibility                     state         when

1          due      to     the         nature            of    the        investigation                  or      the

1          identity              of       the      investigative                     targets            any      decision

1          will         have         some        impact          on the          political               process              such

1          as     an impending                     election.               The prosecutor                       should

1          make         decisions                and      use        discretions                 in     principle

1          manner          and         a manner               designed           to     limit           the      political

2          impact          without               regard          to       the    prosecutor's                    personal

2          political                 beliefs             or    affiliation."                      And finally,

2          the     ABA, the                Criminal              Justice             Standards                3.6      on

2          prosecutorial                        investigation                   says,           "whether            one

2          agrees          that           this      investigation                     --        what      I just            read

2          was      from         the       ABA.           And so there's                        been     discussions


                                                                                                                                     85
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 87 of 103



           about       whether             this           investigation                          is     politically

           motivated,               whether               it's         not.           Whether                one    agrees

           that      it      is     politically                     motivated                    or     not,       I think

           there's           some         evidence                to     suggest                 that        no one        can

           deny      that          this        investigation                         had         and     continues               to

           have      political                 impact             which         is         the        standard            under

           the      relevant              policies.                    I've          got         a couple           of

           exhibits.                Exhibit               C and          Exhibit                A that          I would

           just      like          to     publish,                your        Honor.                  And these            are

1          just      represented                    examples               of what                happened              out      in

1          the      world          hours         after            we believe                     we were           forced          to

1          file      our      motion             to       quash.

1                                  THE COURT: Okay.

1                                  MR. MCEVOY: So look,                                    I understand                   you've

1          got      political              candidates                    trying             to        gain      traction

1          with      some          segment               of      voters,             but         as     an attorney                and

1          not      a politician                    it        doesn't           sit         with         me,       and

1          doesn't           sit        well        with          policies                 that         I've       just

1          enumerated.                    Obviously,                   we've          discussed                 and

2          debated,           had         very           reasonable                  debate             about       a refusal

2          to     testify.                I don't                think        it's          because             he'll         do

2          anything           to        win      an election,                        right.              So these

2          things          happen,             as        I said          hours             --     that's           9pm on

2          April          18th.           I think                we filed             our         motion           that       day.

2          It's      having             a political                    impact.


                                                                                                                                         86
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 88 of 103



                                 THE COURT:                       What's            having              that     impact          was

           the      decision               to    file          the        motion.                  I will        do my best

           to      refrain           from        descending                   into           the        political          chaos

           that       I know some                  folks             really               really         want       to    talk

           about,         and        the        pundits              can      do that.                   But     is       --     was

           not      setting            aside           the        sovereign                  immunity            concern

           and      I'm       not     minimizing                     those           in      anyway.             Setting

           those        aside,             would        not          the      path           of      least

           resistance,                 least           attention,                    least           political            fire

1          from       any      direction                to        have        been           we agreed              on a

1          date.          You were               available.                        You had              confirmed          the

1          governor            was         available.                     Appear.                  Come in          through            a

1          secure         entrance.                    Leave.               It's           a non-event.                   I may

1          be missing                it.         But         because               it's         in      your     brief          and

1          because            you      argued,               look,          this           is      --    these

1          political                impacts,            it's          not          fair         and      per     all      the

1          policies            that         you        correctly                   cite,           DOJ,        ABA, etc.

1          Isn't        the         answer         how about                  November                  15th     to      come     in

1          for      whatever               coming            in    means.                  Right         now that's              not

2          the      posture            we're           in.           But      z happened                     because       what

2          had      originally                  been         negotiated                    didn't            happen.

2                                MR. MCEVOY:                         That's               right.

2                                   THE COURT:                    Okay.

2                                MR. MCEVOY:                         Is     that           where         we are,          Judge,

2          in      society           in     our        legal          system               where          I don't


                                                                                                                                           87
Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 89 of 103



       believe          anyone          should             be punished                   politically                     or

       otherwise            for       invocation                   of    a legal                right            or

       privilege.                 That's            what      happened              here.                We didn't

       want      to     be here.               We agreed                  to     something.                        They

       disagreed.                 They        created              a controversy.                               We had        to

       respond.             Who benefits                     from         that          controversy?                         Not

       Governor            Kemp.             He doesn't                 benefit            from          that.               And

       I don't          think         it's          fair       to       punish           Governor                  Kemp

       from      invoking             a legal              right          of privilege.                            That,       by

       the     way,        he doesn't                have          the      authority                   to       waive

       sovereign            immunity.                  And by raising                           it,      was he

       hiding?             Judge,            we're         still          a society                   that's

       governed            by the            rule      of      law.         The         District

       Attorney's             Office            is     free         to      pursue              any         type

       investigation                  without              fear,         but       it      also          must          do so

       without            favor       and       without             the        threat             of        impacting

       our     election            integrity.                      That's          something                     Governor

       Kemp has            fought            very      hard         to      protect               and           maintain.

       And the          district              attorney's                  office           has          said          they

       don't        want      to      have          a political                  impact.                    I

       appreciate             that.             So the             easiest              thing           to       do is

       kick      this       down the                road       75 days.                  Your           Honor          is

       well      aware        of      where          we are,              what          state           we're          in,

       what      race       we're            facing          and,         you      know,              the        governor

       ought        not     have        to      suffer             political               consequences                       for


                                                                                                                                    88
Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 90 of 103



       invoking             a legal                   right.                 I think               the      district

       attorney's                  office                 would          agree             with          that.          And so,

       in     our     --         it's          our         position                  there's              a very            simple

       solution             for           that.                 I don't              understand                   why his

       appearance                  has         always             been              tied      to         coming         before

       the      general                 election,                 but          it      has.              This

       investigation                          is      going             on until              the         end      of       year

       anyway.              Special                   grand             jury         is     impaneled                  until           May

       of     '23.              I don't               see        any         significant                    investigative

       harm      to    pushing                      it.          It's          consistent                   with          DOJ

       policies.                   It's             consistent                      with      ABA policies.                            And

       that's         all          we're              asking             for.

                                 MR. WADE:                       Before              we respond                   we got              kind

       of     lost         in      the         argument.                       Two screens                       ago    Mr.

       McEvoy         posted                  an opinion                     by the           attorney                 general

       that      specifically                             referenced                   a criminal

       investigation                          to      criminal                 statute.                   Well,         not           20

       minutes         ago              the         argument                 was       this         wasn't             criminal.

       So we got                 kind          of         lost          in     the         argument.                   Is       it

       criminal             or          is     it         not?          Was .is            their          position?

       Because             if      it's             not         criminal               then         that          slide              two

       screens         ago              would             not     be         applicable.                         So,    we're

       just      trying                 to     figure              out         which          side          does          the         Court

       want      us    to          argue.

                                 THE COURT:                        I want              you         to     argue           your


                                                                                                                                              89
Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 91 of 103




       side,       whatever             that           may be.             I noticed                  the

       situation           that         you           noticed.             You don't                  have        to     sigh

       everytime            you        come up.

                           MR. WAKEFORD: So,                               refraining                  from

       sighing,           your         Honor.                The District                   Attorney

       publicly           stated             earlier            in      2022,          that        although              this

       special          purpose              grand           jury       was      impaneled                  in    May it

       would       not     begin             conducting                 business              until          June,

       specifically,                   to        avoid        public            activity,              in        order         to

       avoid       interference                       with       the      political                primaries

       which       were         decided               in     late       May.           In     those          contest,

       perhaps,           no one             was more               visible            for        obvious

       reasons           than         the        governor's               own contest                  against               an

       opponent           whose             involvement                 and      opinions              about           the

       matters           relevant                to    this         special          purpose                grand        jury

       could       not      have        been           more         public,          more          vehement              or

       more      vitriolic                  if    you watch               the      debate             between            the

       two     individuals                   before           the       governor's                 primary.

       That      was a specific                        delay         which         the        District

       Attorney           publicly                stated            she    would             take.           She would

       decide       to      pursue.                   After         communications                     breakdown

       there       is     a --         well,           they         breakdown                because             of .a

       July      2022       e-mail               in    which           requirements                   for        the

       governor's               voluntary                  interview             are         stated          by Mr.

       McEvoy and               the     word           "requirements"                        is    very


                                                                                                                                    90
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 92 of 103



           specifically                     used.             Another            phrase           that        is        used             in

           that       July         20th          e-mail             is    a politically                      motivated

           investigation.                          It        has     been        their          position                since

           before           the        voluntary                   interview             was          --     could            not

           move       forward               before            a subpoena                 was      issued.                   This

           was      their           stated          position                  that,          well,         this         is     a

           politically                  motivated                   investigation.                         They         put         it

           in     writing              to    us.             What        is    the       District             Attorney

           suppose            to       do with               that        when         she      has     already                tried

1          to     move        the       date            of    any        involvement                  pass         an

1          entirely               contentious                   primary               that      the        governor                 was

1          participating                     in.             When the            District              Attorney                had

1          engaged            in       negotiations                      to    have          a voluntary

1          interview                even         after             the    special              purpose             grand            jury

1          was      seated             and       was         subpoenaing                 other         witnesses.                            As

lB         in      deference                to     the        respect            afforded              the         office                of

1          the      governor,                communications                           and      negotiations                    about

1          voluntary                interview                 continued                until          requirements

1          were       stated            by the               governor's                office.               Because                in

2          their       words            this         was           clearly            a politically

2          motivated                investigation.                            At that           point         what            more

2           is     there          to    discuss?                    There        was         an agreement                     to         a

2          date       after            a subpoena                   was       issued.                There         was        an

2          original               subpoena               date,           and     then          there         was        a

2          conversation                     which            your        Honor         participated                     between


                                                                                                                                                  91
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 93 of 103



           the     parties                where             counsel               for      the         governor                pointed

           out     I can't                do that              date.               For         personal                reasons           I

           can't        be       there           on that                date.              So,         there           was      an

           agreement                among             the      parties                  that        another              date        eight

           days       later          would             be         appropriate.                         That         was        agreed

           to.        Another               subpoena                   was        issued            and        accepted.                 And

           on the           day      before                 that        agreed             to       day        of      the      18th

           they       filed              this        motion.                 All         of      these            issues

           existed.                 All         of     these            positions                   they          have         didn't

1          arise           in      the      eight            days            --         seven          days         between             when

1          they       agreed              to     a date                and        they         filed           their           motion.

1                                   And finally,                        I think                this          is     very

1          important                to      understand                   where             they're                saying

1          they're              being           persecuted                   for         raising               this        position.

1          Or they              decided               to     raise           it         on the            eve       of        a date

1          that       they          agreed             to         specifically                      after           requesting

1          that       it        be moved.

1                                   Additionally,                         the           media             --      as     we point

1          out     in       our      brief             the         media           had         already              reported,

2          incorrectly                    as     it         turns         out,           that          the        governor              had

2          appeared                and      provided                   testimony,                   whether              it     was      a

2          voluntary                interview                     or    before             the         special                purpose

2          grand           jury.            This            was        reported                in      the        media         widely

2          that       on July               25th            the        governor                had        appeared              and

2          provided                testimony.                      No one               from        the        district


                                                                                                                                               92
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 94 of 103



           attorney's                office         contradicted                          that.             No one          from

           the     governor's                 office           contradicted                         that.             The        story

           was     over.             There       were          no statements                         by anybody

           else.          There         was not            a fire               storm.               There            was not

           an eruption                of      controversy;                      it        was       quiet.             If        the

           governor            had      appeared               on August                    18th,           driven          into             a

           secure         location             and      brought                 into          the        building,

           appeared,            provided               testimony,                     left,          there            would

           have      been           no story.              There           would              have          been       no

1          controversy.                    There          would         be no political

1          implications.                      There        would           be nothing                       to     talk          about

1          because            the     story         for        media         purposes                    was       over.

1          There        was         no testimony                 to       hear            about          because            it         had

1          already          happened.                  But       instead                  they       waited            until

1          the     day      before            the      governor              was            suppose              to    appear,

1          the     date        they        agreed          to,        and            then         they       filed          this

1          motion         and made             public            statements                       about          how they

1          could        not         cooperate             at     this           stage.               So,         to

1          continually                insist           that         this             is     a situation

2          engineered                by the         district                attorney's                      office          to         the

2          intentional                detriment                of     the            governor               is     just          not

2          true.          The facts              before             the         judge             make       that         clear,

2          and     to     insist           otherwise                         well,                your       Honor          can

2          make      your           own determinations                               about          the      validity                  of

2          those        arguments.                  That         is       the         District               Attorney's


                                                                                                                                                 93
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 95 of 103



           position           as      to     this.          If     he'd             just         come        in     we had

           talked          about       these          issues         even            with            you     that         day

           there         would        have      been        no story                 because               the      story

           was      already           over.           Instead            the         governor's                   counsel

           created          the       story          by not        just             choosing               to      file         the

           motion,          but       choosing           to       file         it         in     this        way after

           getting          the       date      that        they         requested.                        Thank          you.

                                  THE COURT:                You're         welcome.

                                 MR. MCEVOY:                   Your       Honor                --

1                                 THE COURT: So,                   I don't                  want        to       hear

1          anymore          back       and      forth          about           who had                what

1          agreement,              about        voluntary                interview                    or     not        and

1          dates.           I'm       now familiar                 with             the        timeline.

1                                MR. MCEVOY:                   Sure.

1                                 THE COURT:                And of             course,                none        of      this

1           impacts         sovereign                immunity            and         jurisdiction,                        but         it

1          does         go into        if      that      argument                   fails            how do we

1          structure              things        going          forward          ..          And I feel                  very

1          comfortable                now that           I understand                          not      every           aspect

2          of     the     back        and      forth        but      enough                 to      make         some

2           informed          decisions.                 So,       if     there                are      other           topics

2          you      want      to      cover,          Mr.      McEvoy,               in        connection                 with

2          the      motion         you       filed       that        brought                   us     here         in     a

2          public          setting,            I'm     happy         to    hear                other         topics.

2                                MR. MCEVOY: Well,                        I want                 to     reiterate                its


                                                                                                                                           94
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 96 of 103



           impact.                 It's           not      intentional.                        It's           political

           impact.                 No one           has         denied             there          is     significant

           political                 impact               and       that's             the     concern.                   And

           certainly                would           have            been          impactful              had        we gone            in

           voluntarily                     on July              25th          and         given        a statement

           which       we're               not          fully         prepared,                and       it        was

           recorded.                      And one              of      the        things          we asked                for    was

           to      enter           into           a nondisclosure                            agreement              so     it

           wouldn't                        they           wouldn't                do that,             right.             So then

1          we bring                in      the          governor              to       a voluntary                  interview

1          that,        you          know,              they        put       in       a publicly                  available

1          documents                 so everybody                           would           know about              it.         And if

1          it      didn't            go well               and         there           was no 6(e)                  grand        jury

1          secrecy            protection,                       what          would           have       happened.                 I

1          mean,        we are               damned             if          we do,           damned           if    we don't.

1          We come in,                     it's           going         .to be politicized.                                If    we

1          don't        come in,                   it's         going             to    be politicized.                         We

1          invoke           legal            rights,                 it's         politicized.                      And we. are

1          just       in      a difficult                       position                which          underscores                 the

2          difficult                balance                of       conducting                 a high              profile

2          political                 investigation                           in     the       middie           of     an

2          election.

2                                   MR. WADE:                       Judge,             if     I might.

2                                    THE COURT:                        You mightn't.                     That's            okay.

2          Unless           it's           a different                       topic.            If      it's         in     response


                                                                                                                                            95
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 97 of 103



           to     what     Mr.       McEvoy                said,            I think            that         was a good

           re-summation               of        what             he already                 said.               Good meaning

           accurate.              I think                  it      fit       what         he said            before.

           Nothing         new.            So,        if         you        are      going           to     address             that

           same      thing,          we've            covered                that         turf.             But        if

           there's         another              topic              that           you'd        like         to        cover,          by

           all     means.

                               MR. WADE:                         Another              topic,           Judge,           but          it's

           dealing         with       the        issue                 at    hand,          which           is    we

1          proposed           that         if    we treat                    this         just         as       weive

1          treated         other           witnesses,                       which         is      that          the      day         Mr.

1          McEvoy         comes        in       with             his        client,            the        morning              of,

1          we'd      share        with          him our                  buckets.                 After          we get

1          through         sharing              with             Mr.        McEvoy the                 buckets              he can

1          then      speak        with          his             client.              They         can       get        their

1          plan      of    action,              and             we can            start        the        examination

1          process.

1                              THE COURT:                          It's           a tried            and        trued        method

1          that      has      worked            for         many            similarly                situated

2          individuals.                    So,        I think                if      and       when we go forward

2          that      would        be the              model               that       we'd         use.

2                              MR. WADE:                         Yes.

2                              THE COURT:                          Mr.       McEvoy,              Mr.       Ba~er,             Mr.

2          Dove,       anything             else                that        you want              to      get     before              me

2          since       we're         all        together                    right         now in            connection


                                                                                                                                            96
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 98 of 103



           with         the     motion         to      quash          that          you       filed?

                                  MR. MCEVOY:                  No,          your         Honor.           We didn't

           discuss             attorney/client                      privilege,                  but      I think            the

           same         frames         parameters                  apply.

                                  THE COURT:                  Definitely.                       And insofar                 as

           the         governor         might          have         a reason              to     raise         a

           legislative                 privilege              because               of    some whoa he had

           with         the     legislature.                       Preserve,              protected                and

           would         be navigated                  if     we get               to    that        point         of,      oh,

1          he's         confronted             with          those          kinds         of     questions.

1                                 Okay.          The         Power          Point         that         you put           up,

1          is     it      in    here      somewhere;                  is      it        one     of     those        tabs          or

1          is     this         just     all      the         e-mails               again?

1                                 MR. MCEVOY:                      I've       have        got         an extra           copy

1          for         your     Honor.

1                                 THE COURT:                  That         would          be great.                 Before

1          you         leave      if    I could              get      that.              I kept.         trying          to

1          find         some      of    your        slides            because             they         come off             the

1          screen.

2                                 MR. MCEVOY:                  May I approach?

2                                 THE COURT:                  Mr.         Wade,          Mr.     Wakeford,

2          anything             else      from         the         District              Attorney's                Office

2          at     this         time?

2                                 MR. WADE:                 Nothing            else           from      the        State,

2          Judge.              Thank      you.


                                                                                                                                       97
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 99 of 103



                                  THE COURT:                    So,         as      I see        the           sequencing,

           I need          to     work        through                the     sovereign                    immunity               issue

           that      the        lawyers            for         the         governor             have           raised            that

           Mr.     Bauer          articulated                   here         in       court.               If       I agree

           with      Mr.        Bauer's            arguments                 then         there            is       no

           jurisdiction                 that         this            Court          enjoys            to       enforce             any

           subpoena             and     then         the        two         sides         would            need          to

           discuss          other         ways           in     which            to      get         information                   from

           the     governor             if      that's               how things                 would            flow.             It

1          just      wouldn't             be anything                       I have             any        role       in.           It

1          could         include             appearing                before             the         special             purpose

1          grand         jury,         but      that           would         be because                    everyone

1          agreed          to     do that            as        opposed              to    anyone               was

1          compelled              to    do that.                     If     I end         up agreeing                      with

1          the     District             Attorney's/State's                                position                  on

1          sovereign              immunity               or     lack         thereof                 in    this          context,

1          then         we'll      need         to       have         discussions                     about          how to

1          move         forward,             and     I will                spend         sometime                before            we

1          would         have      that         discussion                   thinking                 through              the

2          concerns             Mr.     McEvoy             raised            about             the        political

2          impact,          not        motivation,                    but        the      impact               of    having

2          not     just          a sitting               governor                but      a governor                     who is

2          in     the      midst        of      a race               for     his         office.                 Whether

2          that         should         occur,            his         appearance                 before              or     after

2          the     election             is      over.                So,     I'll         need            to     make both


                                                                                                                                          98
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 100 of 103



            those       decisions             before             we would                 regroup.               And if

            the      decision           is     favorable                 to     the        district

            attorney's            office,             I will             need         to     let      everyone                know

            my thoughts               about          the        timing          of        an appearance,                      and

            then      we could           discuss                procedural                 next       steps.

                                 Is     there         anything,                Mr.         McEvoy,             that        you

            think       I should             be working                  through             or     Mr.        Bauer,

            that      I should           be working                   through               in     addition?

                                 MR. BAUER:                     I just          want         to     make         sure         that

1           it's      on your           radar         that         if        you      are        inclined             to      deny

1           the      motion       to     quash             on jurisdictional                          grounds,                that

1           issue       should          go up on a                    --it         is       an interlocutory

1           issue.          It    is     a discretionary                           appeal.                If     you       look

1           at     Turner        v Giles,             which             is    a 1994             case.           264       Ga.

1           812.        That      kind         of     immunity                question              the        Supreme

1           Court       has      said        barring             some exceptional

1           circumstances                mandating                 a different                     outcome            needs

1           to     go up on an interlocutory                                   basis.

1                                THE COURT:                     I'm      hearing             you      say        two

2           different            things.              It's         discretionary                      or       not

2           discretionary.                     Discretionary                       whether            the        Supreme

2           Court       would         hear      it         or    discretionary                      as      to    whether

2           I would         issue        the         certificate                   of       immediate                review?

2                                MR. BAUER:                     Both.          And

2                                THE COURT:                     I guess            it's          always          at     the


                                                                                                                                     99
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 101 of 103



            top      end     whether              they          want         to    hear          it          or       not.

            Regardless                  of    their            --    I don't              control                 what             they

            do.          I focus             on what            --     so,        you're              saying                it's

            discretionary,                      except              under         Turner              it's            not

            discretionary?

                                   MR. BAUER:                       Well,         the       Supreme                   Court          says

            under         our      appellate                   statute            it's          not          an automatic

            right         appeal.               It's           not     considered                     a collateral

            order         that          you     get       a direct                appeal              without                 a

1           certificate                  from          trial         court.               But         what            Turner              says

1           to     the     trial             court         is

1                                  THE COURT:                       You better                  issue             a

1           certificate.

1                                  MR. BAUER:                       So take              a look              at       that

1           decision,              your         Honor,              because              we will              ask           you      in

1           that         circumstance                   to      give         us      one.

1                                  THE COURT:                       Can you              give     me that                     c~te

1           again,         please?

1                                  MR. BAUER:                       Yes,      sir.              Turner                v Giles.

2           2 64 Ga.         812.

2                                  THE COURT:                       That's           a nondiscretionary

2           discretion.

2                                  MR. BAUER: Couldn't                                   have         said            it     better.

2                                  THE COURT:                       Yeah.          The Supreme                             Court

2           could         say      it        better            apparently.                      I will                assume


                                                                                                                                                 100
    Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 102 of 103



            there      would        be appellate                   ramifications               to     whatever

            decision          I make,        but      I'll          read         Turner       and     see     what

            I need       to    do.

                               Anything        more            from        the     district

            attorney's             office?

                               MR. WADE: Nothing,                          Judge.         Thank        you.

                               THE COURT:               Well,          everyone,              thank     you      for

            your     time.          Appreciate               it.       We are         concluded             here,

            and     I will         be in     touch.

1                              MR. MCEVOY: Thank                       you,        your       Honor

1                              (Whereupon,              the         proceedings               are

1           concluded.         )

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                                                                                                                       101
Case 1:23-cv-03721-SCJ Document 1-185 Filed 08/21/23 Page 103 of 103



                      C E R T I F I C A T E



  STATE OF GEORGIA:

  COUNTY OF FULTON:

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